Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 1 of 40




                            In the Matter of:

                      BRENDA SWEETLAND

                                    vs.

                  WHEELABRATOR SAUGUS




                      ANTHONY COGLIANO

                           January 23, 2023
            Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 2 of 40


· · · · · · · · · · · · · · · · ·VOLUME:                  I
· · · · · · · · · · · · · · · · ·PAGES:· 1 - 121
· · · · · · · · · · · · · · · · ·EXHIBITS:· 1 - 10
· · · · · · · ·UNITED STATES DISTRICT COURT
· · · · · · ·FOR THE DISTRICT OF MASSACHUSETTS
· · · · · · · · · · · · · · · NO. 1:21-CV-10759-LTS
· · ·- - - - - - - - - - - - - - - - - - x
· · ·BRENDA SWEETLAND, on behalf of herself
· · ·and all others similarly situated,
· · · · · · Plaintiff
· · · vs.
· · ·WHEELABRATOR SAUGUS, INC.,
· · · · · · Defendant
· · ·- - - - - - - - - - - - - - - - - - x
· · · · · · ·DEPOSITION OF ANTHONY COGLIANO, a
· · ·witness called on behalf of the Plaintiff, taken
· · ·pursuant to notice before Robert M. Bramanti,
· · ·Certified Shorthand Reporter, Registered Merit
· · ·Reporter and Notary Public in and for the
· · ·Commonwealth of Massachusetts, at the offices of
· · ·Colonna, Doyle & Simeola, 26 Main Street, third
· · ·floor, Lynnfield, Massachusetts, on Monday,
· · ·January 23, 2023, commencing at 2:02 p.m.
· · · · · · · · · · · __________
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                 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 3 of 40
                                                                                                              2..5
                                                    2                                                              4
·1·   ·APPEARANCES:
                                                        ·1· · · · · · · · ·P R O C E E D I N G S
·2
· ·   ·   Laura L. Sheets, Esq.                         ·2
·3·   ·   Liddle Sheets Coulson P.C.
                                                        ·3· · · · · · · · · · (Deposition Exhibit Nos. 1 - 8
· ·   ·   975 E. Jefferson Avenue
·4·   ·   Detroit, Michigan 48207                       ·4· · · · · · · · · · premarked for identification.)
· ·   ·   313.392.0015/lsheets@lsccounsel.com
                                                        ·5
·5·   ·   Present via Zoom Videoconferencing
·6                                                      ·6· · · · · · · ·ANTHONY COGLIANO, a witness called for
· ·   ·   Leo S. Fama, II, Esq.                         ·7· · · · examination by counsel for the Plaintiff, having
·7·   ·   Fama Law Offices
· ·   ·   161 South Main Street, Unit 105               ·8· · · · been first satisfactorily identified by his
·8·   ·   Middleton, Massachusetts 01949                ·9· · · · Massachusetts driver's license, was duly sworn,
· ·   ·   617.387.5900/leo@famalawoffice.com
·9·   ·   Attorney for Richard Cogliano                 10· · · · was examined, and testified as follows:
· ·   ·   Present in person                             11
10
· ·   ·   Richard A. Oetheimer, Esq.                    12· · · · · · · ·MS. SHEETS:· Let the record reflect, this
11·   ·   Goodwin Procter LLP                           13· · · · is the deposition of Anthony Cogliano taken
· ·   ·   100 Northern Avenue
12·   ·   Boston, Massachusetts 02210                   14· · · · pursuant to notice and agreement of counsel to
· ·   ·   617.570.1259/roetheimer@goodwinlaw.com        15· · · · be used for all purposes under the court rules.
13·   ·   Attorney for the Defendant
· ·   ·   Present in person                             16
14                                                      17· · · · Examination by Ms. Sheets:
15·   ·   ALSO PRESENT:
16·   ·   Michael O'Friel, Esq.                         18· ·Q.· ·Good afternoon, Mr. Cogliano.· I introduced
· ·   ·   General Counsel, Wheelabrator                 19· · · · myself before we went on camera here and you
17·   ·   Present via Zoom Videoconferencing
18                                                      20· · · · have graciously agreed to let me call you
19                                                      21· · · · Anthony and you are going to call me Laura today
20
21                                                      22· · · · just so we can hopefully get through this
22                                                      23· · · · process as quickly as possible.
23
24                                                      24· · · · · · · ·As you just heard from the court

                                                    3                                                          5
·1· · · · · · · · · · · · I N D E X
                                                        ·1· · · · reporter, he's going to be taking down
·2· ·Deposition of:· · · · · · · · · · · · · Page
                                                        ·2· · · · everything that's being said here today.· So
·3· ·ANTHONY COGLIANO
                                                        ·3· · · · it's important that we try not to speak over
·4· · Examination by Ms. Sheets· · · · · · · · 4
                                                        ·4· · · · each other, especially given the little bit of
·5· · Examination by Mr. Oetheimer· · · · · · 80
                                                        ·5· · · · lag that we may have in technology.· We will get
·6· · Further Examination by Ms. Sheets· · · 105
                                                        ·6· · · · through this here hopefully as quickly as
·7
                                                        ·7· · · · possible.
·8
                                                        ·8· · · · · · · ·Can you please state your full name for
·9
                                                        ·9· · · · the record.
10
                                                        10· · · · · · · ·MR. OETHEIMER:· Laura, how about we -- I
11· · · · · · · · · · · ·------
                                                        11· · · · make my appearance on the record.
12
                                                        12· · · · · · · ·MS. SHEETS:· Oh, I'm sorry.
13· · · · · · · · · · E X H I B I T S
                                                        13· · · · · · · ·MR. OETHEIMER:· I'll start.
14· ·No.· · · · · · · · · · · · · · · · · · ·Page
                                                        14· · · · · · · ·I'm Richard Oetheimer from Goodwin
15· ·1· · · Deposition Subpoena· · · · · · · · 4
                                                        15· · · · Procter, representing the defendant,
16· ·2· · · Liddle Sheets Letter, 12/22/22· · ·4
                                                        16· · · · Wheelabrator Saugus, Inc.
17· ·3· · · Blank Declaration· · · · · · · · · 4
                                                        17· · · · · · · ·MR. FAMA:· I'm Leo Fama, representing
18· ·4· · · 2nd Answers to Interrogatories· · ·4
                                                        18· · · · Anthony Cogliano.
19· ·5· · · Anderson Declaration, 6/11/22· · · 4
                                                        19· ·A.· ·And then William Cogliano, Sr.
20· ·6· · · Anderson Declaration, 8/22/22· · · 4
                                                        20· ·Q.· ·Okay.· Can you identify your home address for
21· ·7· · · Wickedlocal.com Article· · · · · · 4
                                                        21· · · · the court reporter, please.
22· ·8· · · Itemlive.com Article· · · · · · · ·4
                                                        22· ·A.· ·27 Serino Way, Saugus, Mass., 01906.
23· ·9· · · Cogliano Declaration· · · · · · · 81
                                                        23· ·Q.· ·As we talked about, I briefly introduced myself
                                                           YVer1f




24· ·10· · ·Photo of 8/1/22 Oetheimer Text· · 89
                                                        24· · · · a little bit more casually before we went on

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           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 4 of 40
                                                                                                                  6..9
                                                          6                                                            8
·1· · · · camera today.· Is it your understanding that I      ·1· · · · make any sense, you can always ask me to clarify
·2· · · · represent Brenda Sweetland in a putative class      ·2· · · · my question and I would be happy to do so.
·3· · · · action that has been filed on behalf of her and     ·3· · · · Okay?
·4· · · · other residents in the area claiming to have the    ·4· ·A.· ·Sure.
·5· · · · use and enjoyment of their property interfered      ·5· ·Q.· ·Okay.· The other thing, as I told you, we are
·6· · · · with by odors and dust from Wheelabrator.· Do       ·6· · · · trying to get through this as quickly as
·7· · · · you understand that?                                ·7· · · · possible, but if, in fact, at any point you do
·8· ·A.· ·Yes, I do.                                          ·8· · · · need to take a break, you can certainly let me
·9· ·Q.· ·Okay.· I presume at this point you have had an      ·9· · · · know.· Just finish answering the last question
10· · · · opportunity to meet Mr. Oetheimer in the room,      10· · · · that I pose to you and we can take a break at
11· · · · as he put his appearance on the record?             11· · · · any time.
12· ·A.· ·Yes.                                                12· ·A.· ·Okay.
13· ·Q.· ·We established you are represented by counsel       13· ·Q.· ·The other point may be, since you are
14· · · · today, correct?                                     14· · · · represented by counsel today, and since
15· ·A.· ·Yes.                                                15· · · · Wheelabrator has an attorney present, as well,
16· ·Q.· ·Okay.· Have you ever been deposed before?           16· · · · you may hear certain objections after I pose a
17· ·A.· ·Yes.                                                17· · · · question.· And unless someone, namely your
18· ·Q.· ·Can you tell me just briefly what that entailed.    18· · · · attorney, informs you or instructs you not to
19· ·A.· ·I was deposed in a -- many times.· One was a        19· · · · answer a question, you just let the objection be
20· · · · larceny suit against me.· I have been deposed       20· · · · made for the record, but then you go ahead and
21· · · · for matters regarding my business in the past.      21· · · · provide an answer.· Understood?
22· ·Q.· ·Okay.· Anything else that you can think of          22· ·A.· ·Yes.
23· · · · sitting here today?                                 23· ·Q.· ·Okay.· I am having a little bit of difficulty
24· ·A.· ·No.                                                 24· · · · hearing you.· I don't know if -- I can try to

                                                          7                                                        9
·1· ·Q.· ·When approximately was the last time you sat for    ·1· · · · turn things up on my end, but I will let you
·2· · · · a deposition, ballpark?                             ·2· · · · know if I can't hear anything today.
·3· ·A.· ·2017.                                               ·3· · · · · · · ·Are there any medications that you are
·4· ·Q.· ·Okay.· Have all those issues, the cases, been       ·4· · · · taking today that might impair your ability to
·5· · · · resolved that you just referenced?                  ·5· · · · give truthful testimony?
·6· ·A.· ·Yes.                                                ·6· ·A.· ·No.
·7· ·Q.· ·Okay.· I'm sure that you remember sort of the       ·7· ·Q.· ·Great.· Then I'm going to refer you right now to
·8· · · · ground rules, but I'm just going to cover a few     ·8· · · · what we have previously before you arrived
·9· · · · of them.                                            ·9· · · · marked as deposition Exhibit 1.· I don't know --
10· · · · · · · ·One of which we have already touched upon    10· · · · do you want to pull those over.
11· · · · today, which is it's very important that we         11· · · · · · · ·MR. OETHEIMER:· Yeah.
12· · · · don't speak over each other so that the court       12· · · · · · · ·MS. SHEETS:· I didn't mean to put you to
13· · · · reporter can take down everything that you say.     13· · · · work.
14· · · · · · · ·If you give answers such as uh-huhs or       14· ·Q.· ·Take a few minutes and familiarize yourself with
15· · · · uh-uhs, which are normal in daily conversation,     15· · · · that.· When you are done, just let me know.
16· · · · I'm going to correct you or the court reporter      16· ·A.· ·All set.
17· · · · may, just so that we make sure that we get a yes    17· ·Q.· ·Have you seen that document before?
18· · · · or no on the record and then it's clear.            18· ·A.· ·Yes.
19· · · · Understood?                                         19· ·Q.· ·Sorry, yes?
20· ·A.· ·Yes.                                                20· ·A.· ·Yes.
21· ·Q.· ·Okay.· Great.· If you answer my question, I'm       21· ·Q.· ·Okay.· What's your understanding of what this
22· · · · going to presume that you understood it.· Okay?     22· · · · document is?
23· ·A.· ·Okay.                                               23· ·A.· ·It states that I have to be here for a
                                                                 YVer1f




24· ·Q.· ·If at any point it's too wordy or it doesn't        24· · · · deposition.

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            Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 5 of 40
                                                                                                                  10..13
                                                        10                                                              12
·1· ·Q.· ·Understood.· I'm sure you've been informed by         ·1· · · · · · · · Notwithstanding two years of law school,
·2· · · · your attorney that we all talked amongst              ·2· · · · I mean, you are asking sort of legal questions.
·3· · · · ourselves to figure out a different date that         ·3· · · · I will object for the record.· But, you know,
·4· · · · was mutually convenient and that's why we are         ·4· · · · subject to my objection, if he has an
·5· · · · here today.· And I appreciate that.                   ·5· · · · understanding, he can provide it.
·6· · · · · · · ·Are you a licensed lawyer, sir?                ·6· · A.· · I don't believe so, no.
·7· ·A.· ·No.                                                   ·7· · Q.· · Thank you, Anthony.
·8· ·Q.· ·Okay.· Have you ever attended any law school          ·8· · · · · · · · Let's take a look at what's been marked
·9· · · · classes?                                              ·9· · · · as Exhibit 2, please.
10· ·A.· ·Yes.                                                  10· · · · · · · · MS. OETHEIMER:· I'm going to go through
11· ·Q.· ·Tell me about that.                                   11· · · · the pile.· I assume they are in order.
12· ·A.· ·I went to Mass. School of Law and I was there         12· · · · · · · · MS. SHEETS:· Yeah, there's nothing --
13· · · · for two years, 1999 through 2000.                     13· · · · feel free.
14· ·Q.· ·Did you graduate?                                     14· · Q.· · Anthony, same thing, whenever I give you a 15·
15· ·A.· ·No.                                                   · · · document today, take your time and read it over 16·
16· ·Q.· ·So you've never taken the bar exam, correct?          · · · and let me know when you've had an opportunity 17·
17· ·A.· ·No.                                                   · · · to look at it.
18· ·Q.· ·Do you know, sitting here today, what a class         18· · · · · · · · MR. OETHEIMER:· Since there's only one
19· · · · action is?                                            19· · · · set on the table, Laura, could you just identify
20· ·A.· ·Yes.                                                  20· · · · Exhibit 2 for the record.
21· ·Q.· ·Okay.· Generally, tell me what your                   21· · · · · · · · MS. SHEETS:· Sure.· Let me wait until
22· · · · understanding of that is.                             22· · · · he's done.
23· ·A.· ·So the Sweetlands are trying to get other people      23· · · · · · · · MR. OETHEIMER:· Thank you.
24· · · · in the area to agree with them that there's a         24· · A.· · I'm all set.

                                                           11                                                            13
·1· · · · problem with Wheelabrator and they are trying to      ·1· ·Q.· ·Okay.· Anthony, I'm going to represent to you
·2· · · · get everyone together as a class action to file       ·2· · · · that this is a letter on my firm's letterhead,
·3· · · · suit against Wheelabrator.                            ·3· · · · Liddle Sheets Coulson, that was sent on
·4· ·Q.· ·Okay.· I appreciate that.· You were answering a       ·4· · · · September 22nd to Anthony Cogliano at 27 Serino
·5· · · · little bit more specifically.· I was just kind        ·5· · · · Way in Saugus, Massachusetts, 01906.
·6· · · · of asking generically what your understanding         ·6· · · · · · · ·Have you seen this document before?
·7· · · · was.· That's pretty good.                             ·7· ·A.· ·I have, yes.
·8· · · · · · · ·Is this an understanding, in terms of          ·8· ·Q.· ·Okay.· Did you receive this at your home?
·9· · · · what you just said about a class action, is that      ·9· ·A.· ·Yes.
10· · · · from attending law school classes?                    10· ·Q.· ·Okay.· Did you bring any documents with you
11· ·A.· ·That and television.                                  11· · · · today?
12· ·Q.· ·Okay.· Do you know sitting here what a putative       12· ·A.· ·No.
13· · · · class member is?                                      13· ·Q.· ·Did you take a look at your phone for the
14· ·A.· ·Say that again.                                       14· · · · requests in the letter to see if you had any
15· ·Q.· ·A putative class member, do you understand what       15· · · · text messages to anyone regarding the
16· · · · that is?                                              16· · · · declarations we are going to talk about today?
17· ·A.· ·A class member that's seeking damages.                17· ·A.· ·I go through cell phones monthly.· So to find
18· · · · · · · ·MR. FAMA:· I can't answer.· You answer.        18· · · · one that was from that time period, I wouldn't
19· ·Q.· ·Can you guys hear me?                                 19· · · · -- first of all, I wouldn't have it.· They break
20· ·A.· ·Yes.                                                  20· · · · and whatnot.· So I don't have any messages at
21· ·Q.· ·Okay.· Do you know if you are a putative class        21· · · · all, any text messages to show you today.
22· · · · member in this proposed class action?                 22· ·Q.· ·But you did do a search for those, correct?
23· · · · · · · ·MR. OETHEIMER:· Objection, for the             23· ·A.· ·Yes, correct.
                                                                   YVer1f




24· · · · record.                                               24· ·Q.· ·Okay.· Are there any documents, aside from the

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           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 6 of 40
                                                                                                                14..17
                                                        14                                                              16
·1· · · · declarations that we are going to look at and      ·1· ·A.· ·No.
·2· · · · talk about today, in your possession that          ·2· ·Q.· ·So you did do a thorough search to see if you
·3· · · · involve this lawsuit in any way?                   ·3· · · · had any documentation that was requested in the
·4· ·A.· ·No.                                                ·4· · · · letter that's been marked as Exhibit 2, correct?
·5· ·Q.· ·Have you ever exchanged any emails with Richard    ·5· ·A.· ·Yes.
·6· · · · Oetheimer, Wheelabrator's counsel, that's          ·6· ·Q.· ·Okay.· Thank you.
·7· · · · present in the room today?                         ·7· · · · · · · ·Aside from that, what did you do to
·8· ·A.· ·I don't believe so.                                ·8· · · · prepare for your deposition today?
·9· · · · · · · ·Yes, I have.· He did send me an email.      ·9· ·A.· ·Nothing.
10· ·Q.· ·Okay.· Do you know approximately when that was?    10· ·Q.· ·Okay.· Did you have conversations with Mr. Fama?
11· ·A.· ·August.                                            11· ·A.· ·Mr. Fama?
12· ·Q.· ·Do you remember what the substance of that email   12· ·Q.· ·Yes.
13· · · · was?                                               13· ·A.· ·Yes.
14· ·A.· ·The declarations.                                  14· ·Q.· ·You didn't refresh your recollection and look at
15· ·Q.· ·What exactly was said in the email?                15· · · · any declarations?
16· ·A.· ·I don't know exactly what was said, but it was     16· ·A.· ·You asked me if I talked to him today.· I talked
17· · · · along the line to -- we get a set of               17· · · · to him on Friday.
18· · · · declarations that I signed and we had to get the   18· ·Q.· ·Okay.· Fair enough.
19· · · · people that offered the information to sign them   19· · · · · · · ·Did you review any of the declarations in
20· · · · themselves.                                        20· · · · advance of your deposition today?
21· ·Q.· ·Okay.· Anthony, you are going to hear me say       21· ·A.· ·A few.
22· · · · things to Richard or Leo during the day you can    22· ·Q.· ·Okay.· Do you remember which ones?
23· · · · just ignore.                                       23· ·A.· ·I don't.
24· · · · · · · ·MS. SHEETS:· I'm going to make a request    24· ·Q.· ·Okay.· Why did you look at just a few and not

                                                    15                                                              17
·1· · · · on the record, Richard, again, you sent over       ·1· · · · all?
·2· · · · some emails in the last couple of days.· But I     ·2· ·A.· ·What's that?
·3· · · · think, in fact, we didn't receive that email.      ·3· ·Q.· ·Why did you look at just a few and not all of
·4· · · · I'm going to be making that on the record that     ·4· · · · them?
·5· · · · you produce that.                                  ·5· ·A.· ·I think there was a question regarding
·6· ·Q.· ·Do you think that was just the one email           ·6· · · · signatures on a few that he showed me.
·7· · · · exchange that you had with Mr. Oetheimer?          ·7· ·Q.· ·Okay.· Who was that, your counsel?
·8· ·A.· ·I believe so.                                      ·8· ·A.· ·Yes.
·9· · · · · · · ·MR. OETHEIMER:· Laura, I don't know if      ·9· ·Q.· ·Let me be clear for the record, I'm not allowed
10· · · · you want me to answer.· I don't believe I          10· · · · to and I'm not interested in knowing about any
11· · · · emailed him.                                       11· · · · conversations that you had with your attorney.
12· · · · · · · ·MS. SHEETS:· No, that's okay.· That's       12· · · · Okay?
13· · · · okay.· We will just keep what we've got on         13· ·A.· ·Okay.
14· · · · there.· If you ever sent it to me, I will find     14· ·Q.· ·I don't want to get into that.· I can ask
15· · · · it, but if you haven't, please do.                 15· · · · specifics about when you talked to him, but not
16· · · · · · · ·MR. OETHEIMER:· Okay.                       16· · · · what you talked about.· I just want to make that
17· ·Q.· ·(By Ms. Sheets) Have you ever exchanged any        17· · · · clear so you don't offer anything in advance of
18· · · · emails with any of the declarants --               18· · · · that.
19· ·A.· ·No.                                                19· · · · · · · ·Did you discuss your deposition with
20· ·Q.· ·-- who we will be talking about today?· I'm        20· · · · Mr. Oetheimer?
21· · · · sorry.· Go ahead.                                  21· ·A.· ·No.
22· ·A.· ·No.                                                22· ·Q.· ·Did you discuss your deposition with Jack Walsh?
23· ·Q.· ·Have you ever exchanged any emails with Jack       23· ·A.· ·No.
                                                                YVer1f




24· · · · Walsh regarding the declarations?                  24· ·Q.· ·Did you discuss your deposition with any of the

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           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 7 of 40
                                                                                                               18..21
                                                         18                                                           20
·1· · · · declarants?                                         ·1· ·Q.· ·Okay.· Let's take a look at Exhibit No. 3,
·2· ·A.· ·No.                                                 ·2· · · · please.· When you've had a chance to look at it,
·3· ·Q.· ·Aside from the few declarations that you just       ·3· · · · let me know when you are done.
·4· · · · talked about, did you review any other documents    ·4· ·A.· ·Okay.
·5· · · · in anticipation of your deposition?                 ·5· ·Q.· ·I'm going to represent for the record here today
·6· ·A.· ·No.                                                 ·6· · · · that this was provided to us by Wheelabrator in
·7· ·Q.· ·Okay.· Are you aware that there were six people     ·7· · · · response to our discovery request.· It has the
·8· · · · recently who sat for their depositions in this      ·8· · · · caption of the case, Brenda Sweetland versus
·9· · · · case to talk about their declarations?              ·9· · · · Wheelabrator Saugus, and down on the bottom
10· ·A.· ·Yes.                                                10· · · · right-hand corner there is a stamp, Bates stamp,
11· ·Q.· ·Did you read any of those deposition                11· · · · that says WB Saugus-009630.· Did I get that
12· · · · transcripts?                                        12· · · · correctly?
13· ·A.· ·No.                                                 13· ·A.· ·Yes.
14· ·Q.· ·Did you ask to read any of those deposition         14· ·Q.· ·Okay.· Great.· Again, I'm going to represent to
15· · · · transcripts?                                        15· · · · you this is something that was provided to us by
16· ·A.· ·No.                                                 16· · · · Wheelabrator throughout the course of this
17· ·Q.· ·Do you know who was deposed?                        17· · · · discovery, which we can ask them for documents.
18· ·A.· ·I know Liz Marchese was deposed, Stephanie          18· · · · · · · ·Have you seen a copy of this document
19· · · · Fernandez, Craig Serino, John -- I can't think      19· · · · without the stamp before today?
20· · · · of his last name, and Doug Clark.                   20· ·A.· ·Yes.
21· ·Q.· ·Did you talk to any of those individuals you        21· ·Q.· ·I'm going to ask some things that will hopefully
22· · · · just named after their deposition?                  22· · · · make this easier.
23· ·A.· ·Craig Serino.                                       23· · · · · · · ·You understand that you are here today to
24· ·Q.· ·What did Craig have to say?                         24· · · · testify about declarations that have been

                                                        19                                                        21
·1· ·A.· ·He said it was the most aggravating two hours of    ·1· · · · produced in the Sweetland case, correct?
·2· · · · his life.                                           ·2· ·A.· ·Yes.
·3· ·Q.· ·Okay.· Anything else in addition to that?           ·3· ·Q.· ·You understand people other than you obtained
·4· ·A.· ·No.                                                 ·4· · · · declarations from residents in this case,
·5· ·Q.· ·He didn't talk to you about what he was asked?      ·5· · · · correct?
·6· ·A.· ·He said he was asked time and time again if his     ·6· · · · · · · ·MR. OETHEIMER:· Objection.
·7· · · · signature was on the page.                          ·7· ·A.· ·Yes.
·8· ·Q.· ·Okay.· Did he tell you what his answer was?         ·8· · · · · · · ·MR. OETHEIMER:· Goes to foundation. I
·9· ·A.· ·He said it was his signature on -- the second       ·9· · · · don't know if he did know that.
10· · · · one was his signature.                              10· · · · · · · ·MS. SHEETS:· Okay.
11· ·Q.· ·Okay.· Understood.                                  11· ·Q.· ·You said yes, Mr. Cogliano?
12· · · · · · · ·So did you talk to any of the other          12· ·A.· ·Yes.
13· · · · people that were deposed other than Craig           13· ·Q.· ·Okay.· Do you know who those other people were
14· · · · Serino?                                             14· · · · who also went and got resident declarations?
15· ·A.· ·John Cooper called me just basically to say the     15· ·A.· ·No.
16· · · · same thing.· It was aggravating.                    16· ·Q.· ·Then you wouldn't have had any discussions with
17· ·Q.· ·Okay.· Was that a phone conversation?               17· · · · them about how they went about getting
18· ·A.· ·He's my neighbor.· I was doing --                   18· · · · declarations, correct?
19· ·Q.· ·Okay.· How about Mr. Serino, was that a phone       19· ·A.· ·No.
20· · · · conversation?                                       20· ·Q.· ·I'm correct?
21· ·A.· ·Yes.                                                21· ·A.· ·Yes.· You are correct.· I wish they got all of
22· ·Q.· ·Okay.· Anybody else outside of those two            22· · · · them.
23· · · · individuals?                                        23· ·Q.· ·Okay.· For clarity and convenience, just as I
                                                                 YVer1f




24· ·A.· ·No.                                                 24· · · · said, in my interest in trying to make this

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           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 8 of 40
                                                                                                              22..25
                                                    22                                                              24
·1· · · · process a little bit smoother and quicker here     ·1· ·Q.· ·How did you first hear about the case in what
·2· · · · today, when I refer to the declarations today,     ·2· · · · you believe to be June of 2022?
·3· · · · I'm only talking the declarations that you         ·3· ·A.· ·I spoke to a representative of Wheelabrator.
·4· · · · produced for Wheelabrator.· Okay?                  ·4· · · · They told me what was going on.· And I'm not
·5· ·A.· ·Yes.                                               ·5· · · · sure if it was Jack Walsh or Jim Conley, I'm not
·6· ·Q.· ·At some point here, you understand that there      ·6· · · · sure which one it was, Michelle Nato, but one of
·7· · · · were declarations produced by Wheelabrator in      ·7· · · · three.
·8· · · · July?                                              ·8· ·Q.· ·When you said they told you about the lawsuit,
·9· ·A.· ·Yes.                                               ·9· · · · do you remember a little bit more about what was
10· ·Q.· ·I'm going to, again for purposes of convenience    10· · · · said?
11· · · · and clarity, I'm going to refer to those as        11· ·A.· ·They asked me if I knew anyone that -- in the
12· · · · initial declarations today.· Okay?                 12· · · · area that could dispute the claims in the case.
13· ·A.· ·Yes.                                               13· ·Q.· ·Okay.· That begs my next question.
14· ·Q.· ·Then again, those are just the declarations that   14· · · · · · · ·Did you have an understanding at that
15· · · · you had some exchange with.· Okay?                 15· · · · time what the case was about?
16· ·A.· ·Yes.                                               16· ·A.· ·Yes.
17· ·Q.· ·Okay.· You understand there's a second set of      17· ·Q.· ·Okay.· What was your understanding at the time
18· · · · declarations that Wheelabrator produced to us in   18· · · · of what this case was about?
19· · · · August, correct?                                   19· ·A.· ·Odors, soot on cars, noise.· People having --
20· ·A.· ·Yes.                                               20· · · · this facility giving them a poor quality of
21· ·Q.· ·For purposes of clarity and convenience here       21· · · · life.
22· · · · today, I'm going to refer to those as              22· ·Q.· ·Again, I think you did say this, but just to
23· · · · supplemental declarations.· Okay?                  23· · · · make sure, you don't recall who that
24· ·A.· ·Yes.                                               24· · · · conversation was with when you first heard about

                                                    23                                                           25
·1· ·Q.· ·We have a general understanding here.· I'm not     ·1· · · · the case?
·2· · · · talking about anybody else's declarations that     ·2· ·A.· ·I'm not sure which one it was.
·3· · · · were produced in this case, just the ones that     ·3· ·Q.· ·Was that conversation the conversation during
·4· · · · we believe you had involvement with.               ·4· · · · which someone brought up getting resident
·5· · · · Understood?                                        ·5· · · · declarations from people?
·6· ·A.· ·Yes.                                               ·6· ·A.· ·Yes.
·7· ·Q.· ·Then we are going to talk about the first batch    ·7· ·Q.· ·Okay.· You don't remember who that was.· But
·8· · · · of declarations and reference them as initial      ·8· · · · what specifically did they indicate they wanted
·9· · · · declarations, okay?                                ·9· · · · you to do?
10· ·A.· ·Yes.                                               10· ·A.· ·They wanted me to see if I could find people
11· ·Q.· ·The second set as supplemental declarations,       11· · · · that lived close to the facility that don't have
12· · · · understood?                                        12· · · · any issue with the facility.
13· ·A.· ·Yes.                                               13· ·Q.· ·Okay.· And then at that moment were you given
14· ·Q.· ·Okay.· Good.· I think that will help hopefully     14· · · · what has been marked as Exhibit 3?
15· · · · make things go a lot easier.                       15· · · · · · · ·Again, when I'm talking about Exhibit 3,
16· · · · · · · ·When was the first time that you learned    16· · · · Wheelabrator has stamped that as part of their
17· · · · about this lawsuit with Ms. Sweetland against      17· · · · document production to us.· I'm assuming a copy
18· · · · Wheelabrator?                                      18· · · · you would have received at some point does not
19· ·A.· ·I believe June.                                    19· · · · have that stamp.· Just for purposes of clarity,
20· ·Q.· ·Okay.· Of 2022?                                    20· · · · on that particular occasion, is that when you
21· ·A.· ·Yes.                                               21· · · · received a copy of Exhibit 3?
22· ·Q.· ·So you don't have any idea when it was filed,      22· ·A.· ·I think I received a copy of them in July.· But
23· · · · correct?                                           23· · · · -- we had talked about the case previous to
                                                                YVer1f




24· ·A.· ·No.                                                24· · · · that.

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                                                                                                                          YVer1f
            Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 9 of 40
                                                                                                                  26..29
                                                      26                                                                 28
·1· ·Q.· ·Okay.· Okay.· Fair enough.                           ·1· ·A.· ·Yes.
·2· · · · · · · ·Before we get into more specifics about       ·2· ·Q.· ·Okay.· When you say that they had complaints
·3· · · · that, when you first learned about the lawsuit       ·3· · · · about the facility, what sorts of complaints?
·4· · · · and talked about the claims that you were made       ·4· ·A.· ·They complained about everything.· Peter
·5· · · · aware of in this case, what were your thoughts       ·5· · · · Manoogian complains about noise, traffic.· You
·6· · · · about the case?                                      ·6· · · · know, they -- most people that complain about
·7· ·A.· ·Bogus.                                               ·7· · · · the facility think it's going to go away and
·8· · · · · · · ·MR. OETHEIMER:· Objection.· Vague.            ·8· · · · it's not.
·9· ·A.· ·I've lived there my whole life.· And outside of      ·9· ·Q.· ·Okay.· You are saying that they think the
10· · · · the '70s, I've never had any problem with            10· · · · facility is going to go away or the problems
11· · · · anything from Wheelabrator.                          11· · · · with the facility?
12· · · · · · · ·In the '70s we used to get soot in my         12· ·A.· ·I think some of them actually believe that
13· · · · pool.· They installed scrubbers there in the         13· · · · facility is going away.
14· · · · '80s, and I've never had a problem, and I own        14· ·Q.· ·Okay.· But prior to that conversation in June
15· · · · property close by.· I own another piece of           15· · · · with Wheelabrator, you were aware that there
16· · · · property very close to Wheelabrator, but I've        16· · · · were people who had complaints of odors that
17· · · · never had an issue with it.                          17· · · · they attribute to the facility, correct?
18· ·Q.· ·Okay.· At that time were you aware that there        18· · · · · · · ·MR. OETHEIMER:· Objection.
19· · · · were --                                              19· ·A.· ·Yes.
20· ·A.· ·You froze.                                           20· ·Q.· ·Same question, but a little bit different, prior
21· ·Q.· ·Sorry.                                               21· · · · to that conversation in June of 2022, were you
22· ·A.· ·You froze for a minute.                              22· · · · aware of people outside -- again, before knowing
23· ·Q.· ·You froze, too.                                      23· · · · about this lawsuit -- who had complaints where
24· ·A.· ·Okay.                                                24· · · · they attributed dust on their property that they

                                                          27                                                              29
·1· · · · · · · ·MR. OETHEIMER:· You have to start that        ·1· · · · thought was coming from Wheelabrator?
·2· · · · question from the top.                               ·2· · · · · · · ·MR. OETHEIMER:· Objection.
·3· ·Q.· ·We are talking about when you first learned          ·3· ·A.· ·Yes.
·4· · · · about the case, did you believe that that claim      ·4· ·Q.· ·Have you ever seen any data sheets produced by
·5· · · · was only being made by Ms. Sweetland?                ·5· · · · the plaintiff in this Sweetland case?
·6· · · · · · · ·MR. OETHEIMER:· Objection.                    ·6· ·A.· ·No.
·7· ·A.· ·No.                                                  ·7· · · · · · · ·MR. OETHEIMER:· I would just say
·8· · · · · · · ·MR. OETHEIMER:· Foundation.                   ·8· · · · objection without defining what they are.· But
·9· ·A.· ·If it's a class action, I would think that           ·9· · · · you haven't seen them.· It kind of moots it.
10· · · · there's more than just her.                          10· ·Q.· ·Yeah.· So when you talked about this
11· ·Q.· ·Before you had that conversation with whomever       11· · · · conversation in June of 2022, your testimony, I
12· · · · in June of 2022 with the Wheelabrator                12· · · · believe, is at the time you don't think you were
13· · · · representative, were you in your capacity as a       13· · · · given the blank declaration, correct?
14· · · · resident of that neighborhood aware that there       14· ·A.· ·I got the blank declaration in July.· In June
15· · · · were people who had been complaining about odors     15· · · · they asked me if I knew anybody and I made some
16· · · · they attribute to the facility?                      16· · · · phone calls to people over the next few weeks
17· ·A.· ·Yes.                                                 17· · · · and then in July I got the declaration.
18· ·Q.· ·Okay.· Do you know any of the individuals by         18· ·Q.· ·Okay.· You did just break up there little bit.
19· · · · name?                                                19· · · · And I think actually we are going to be hitting
20· ·A.· ·I don't know who made the claims that -- as part     20· · · · on them in the next couple of questions. I
21· · · · of the Sweetland case, but I know people that        21· · · · don't mean to be redundant, but I'm going to
22· · · · complain about the facility.                         22· · · · have to ask you this again.
23· ·Q.· ·Are they people who live in close proximity to       23· · · · · · · ·Before we get into the specifics of that,
                                                                  YVer1f




24· · · · you?                                                 24· · · · aside from the declarants and your lawyer, have

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                                                                                                                               YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 10 of 40
                                                                                                                30..33
                                                          30                                                       32
·1· · · · you talked to anyone about the Sweetland case at     ·1· · · · time to look it over.
·2· · · · any point?                                           ·2· ·A.· ·All set.
·3· ·A.· ·I talked to the people that have made the            ·3· ·Q.· ·Okay.· Great.
·4· · · · declarations.                                        ·4· · · · · · · ·Again, as Richard pointed out, I don't
·5· ·Q.· ·Aside from them?                                     ·5· · · · think, unless you are a speed reader, you've had
·6· ·A.· ·No.                                                  ·6· · · · an opportunity to go through it all, but have
·7· ·Q.· ·Okay.· Do you know Brenda Sweetland?                 ·7· · · · you ever seen this document before?
·8· ·A.· ·No.                                                  ·8· ·A.· ·No.
·9· ·Q.· ·Do you know where she lives?                         ·9· ·Q.· ·Now, I'm going to ask you about some specifics
10· ·A.· ·She lives near the facility.                         10· · · · again, really to hopefully streamline this
11· ·Q.· ·Okay.· But you don't know specifically where she     11· · · · process.
12· · · · lives?                                               12· · · · · · · ·If you can take a look at page 4 and read
13· ·A.· ·She lives off of Ballard Street.· That's all I       13· · · · interrogatory 3 and the answer.
14· · · · know.· I don't know her address.                     14· ·A.· ·Okay.· All set.
15· ·Q.· ·Okay.· So you, I think -- when you were fading       15· ·Q.· ·All set?· Okay.
16· · · · in and out there a little bit, you started to        16· · · · · · · ·So I really want you to take a look at
17· · · · talk about how things were rolled out.· I want       17· · · · the third paragraph and the first paragraph is
18· · · · to sort of walk you through that process a           18· · · · only one sentence, but it's the final paragraph
19· · · · little more slowly.                                  19· · · · in that answer to interrogatory 3 and going on
20· · · · · · · ·If you could take a look at what has been     20· · · · to page 4 where it says, in part, "Wheelabrator
21· · · · marked as Deposition Exhibit 4.· This is a           21· · · · has learned in the course of its investigation
22· · · · lengthier document.· So while you are looking        22· · · · that Mr. Walsh made the decision to request
23· · · · through it, I will identify it for the record        23· · · · assistance from Anthony Cogliano with outreach
24· · · · because I think it might make this a little bit      24· · · · in Saugus."

                                                      31                                                           33
·1· ·of timelier.                                              ·1· · · · · · · ·Did I read that correctly?
·2· · · · · I'm going to represent for the record              ·2· ·A.· ·You did.
·3· ·that is entitled Wheelabrator Saugus's                    ·3· ·Q.· ·Do you disagree with that statement?
·4· ·Objections and Responses to Plaintiff Second Set          ·4· ·A.· ·No.
·5· ·of Interrogatories.· It is a 20-page document             ·5· ·Q.· ·So tell me about that.· Do you have any
·6· ·that has a two-page addendum to it.· So 22 pages          ·6· · · · recollection of approximately when Mr. Walsh
·7· ·in total.                                                 ·7· · · · approached you?
·8· · · · · I will tell you that this is a document            ·8· ·A.· ·Sometime in June of 2022.
·9· ·that was produced, obviously, by Wheelabrator to          ·9· ·Q.· ·Okay.· Is that the June meeting that we talked
10· ·us, the plaintiff, in response to our discovery           10· · · · about where you first learned about the
11· ·requests.· Take your time and let me know when            11· · · · Sweetland case?
12· ·you have had an opportunity to look through it.           12· ·A.· ·Yes.
13· · · · · MR. OETHEIMER:· Laura, while he's doing            13· ·Q.· ·At that point you said, I think you testified,
14· ·that, he's flipping through it, but he's                  14· · · · he asked if you knew people who you could talk
15· ·obviously not reading it.· It would take him a            15· · · · to and you said you made some phone calls,
16· ·while.· If there are particular answers you want          16· · · · correct?
17· ·refer him to, then he should have a chance to             17· ·A.· ·Yes.
18· ·read them, I think.                                       18· ·Q.· ·Who is Mr. Walsh?
19· · · · · MS. SHEETS:· Oh, absolutely.· I plan on            19· ·A.· ·Jack, I believe he's a subcontractor that does
20· ·doing that.· I'm just letting him familiarize             20· · · · community outreach for Wheelabrator.
21· ·himself to see if he's seen it.· I don't know.            21· ·Q.· ·When saw "outreach," what does that mean?
22· · · · · MR. OETHEIMER:· Okay.                              22· · · · · · · ·MR. OETHEIMER:· Objection.· But you can
23· · · · · MS. SHEETS:· If there's anything                   23· · · · answer.
                                                                  YVer1f




24· ·specifically, sure, I will give him plenty of             24· ·A.· ·He gets involved with the community with town

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                                                                                                                            YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 11 of 40
                                                                                                                  34..37
                                                       34                                                                 36
·1· · · · events.· He's like their personal connection to       ·1· · · · · · · ·MR. OETHEIMER:· Objection.
·2· · · · the town of Saugus.                                   ·2· ·A.· ·Probably because I know quite a few people in
·3· ·Q.· ·Okay.· Do you know how long he's held that            ·3· · · · Saugus.
·4· · · · position?                                             ·4· ·Q.· ·Okay.· When you said that he -- and forgive me,
·5· · · · · · · ·MR. OETHEIMER:· Objection.                     ·5· · · · I don't remember your exact verbiage -- he had
·6· ·A.· ·I don't.                                              ·6· · · · asked you or harangued you to get declarations,
·7· ·Q.· ·Did you know Mr. Walsh only in his capacity as        ·7· · · · what was it that he said to you at the time?
·8· · · · working for Wheelabrator or did you know him          ·8· ·A.· ·Representatives from Wheelabrator would ask me
·9· · · · personally before this?                               ·9· · · · if I spoke to people continuously regarding this
10· ·A.· ·Just from working with Wheelabrator.                  10· · · · matter.· I'd say it went on for a month before
11· ·Q.· ·Okay.· Have you met with or talked to Mr. Walsh       11· · · · we did the declarations.
12· · · · prior to June of 2022 meeting that you had about      12· ·Q.· ·Do you remember who else besides Mr. Walsh at
13· · · · this particular case?                                 13· · · · Wheelabrator you would talk to?
14· ·A.· ·Not about this case.                                  14· ·A.· ·Michelle Nato, Jim Conley, and Jack Walsh.
15· ·Q.· ·But you had met him before June of 2022,              15· ·Q.· ·Okay.· Did you talk to each one of those
16· · · · correct?                                              16· · · · individuals at some point or another about the
17· ·A.· ·Correct.                                              17· · · · declarations, correct?
18· ·Q.· ·When, about, would you say you first were             18· · · · · · · ·MR. OETHEIMER:· Objection.
19· · · · introduced to Mr. Walsh?                              19· ·A.· ·Yes.
20· ·A.· ·2019.                                                 20· ·Q.· ·Do you remember how you actually got a physical
21· ·Q.· ·How did that come to be?                              21· · · · copy of the declaration, the blank declaration?
22· ·A.· ·I was running for the Board of Selectmen and I        22· ·A.· ·I got it from Jack Walsh.
23· · · · met the representatives of Wheelabrator.              23· ·Q.· ·Was that in an email?
24· ·Q.· ·Do you know if Mr. Walsh is a lawyer?                 24· ·A.· ·Can you repeat that.

                                                           35                                                             37
·1· ·A.· ·He's not.· To the best of my knowledge, he's          ·1· ·Q.· ·Sorry.· Was that in an email?
·2· · · · not.                                                  ·2· ·A.· ·No.
·3· ·Q.· ·Okay.· So I think earlier you testified, and          ·3· ·Q.· ·Did he hand it to you in person?
·4· · · · correct me if I'm wrong, that you weren't sure        ·4· ·A.· ·He did.
·5· · · · about the June 2022 meeting where you first were      ·5· ·Q.· ·What was your understanding at the time that you
·6· · · · learning about this lawsuit.· Now are you having      ·6· · · · received it that these would be used for?
·7· · · · a recollection that was with Mr. Walsh?               ·7· · · · · · · ·MR. OETHEIMER:· Objection.· Foundation.
·8· · · · · · · ·MR. OETHEIMER:· Objection.· You are            ·8· ·A.· ·They would be used for opposition to the claims
·9· · · · referring to it as a meeting.· I don't know if        ·9· · · · that there's a -- that Wheelabrator's causing an
10· · · · we established it was a meeting or a phone call.      10· · · · issue.
11· · · · Did he testify?· Did I miss that?                     11· ·Q.· ·Okay.· Did you and Mr. Walsh, at the time you
12· · · · · · · ·MS. SHEETS:· I thought he had said he was      12· · · · received the declaration, go through it and
13· · · · meeting in person.                                    13· · · · discuss the contents?
14· ·Q.· ·Go ahead, Anthony.                                    14· ·A.· ·Yes.
15· ·A.· ·I meet with representatives from Wheelabrator on      15· ·Q.· ·What specifically do you remember discussing?
16· · · · a constant basis.· I'm not sure which one of          16· ·A.· ·The items listed on, 1 through 6.
17· · · · them discussed the lawsuit first.                     17· · · · · · · ·MR. OETHEIMER:· I'm handing back Exhibit
18· ·Q.· ·Okay.· But it was, in fact, Mr. Walsh when you        18· · · · 3.
19· · · · were called approaching you about obtaining           19· · · · · · · ·MS. SHEETS:· Sure.
20· · · · declarations, correct?                                20· ·A.· ·We discussed items 1 through 6 on the
21· ·A.· ·Mr. Walsh, yeah, he nagged me about the               21· · · · declaration.
22· · · · declarations to make sure we got them.· So yes.       22· ·Q.· ·While you are taking a look at Exhibit 3, can
23· ·Q.· ·Do you know why he reached out to you in              23· · · · you take a look at the first paragraph under the
                                                                   YVer1f




24· · · · particular?                                           24· · · · word Declaration it says, "Pursuant to 28 U.S.C.

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                                                                                                                               YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 12 of 40
                                                                                                                 38..41
                                                      38                                                                 40
·1· · · · 1746, I declare and say."                            ·1· · · · chance to go through that.
·2· · · · · · · ·Did I read that correctly?                    ·2· ·A.· ·All set.
·3· ·A.· ·Yes, you did.                                        ·3· ·Q.· ·Great.· Really, it's just a portion here.· If
·4· ·Q.· ·Okay.· Did you and Mr. Walsh discuss what that       ·4· · · · you look down at the second paragraph here, it
·5· · · · means?                                               ·5· · · · says, "Subject to and without waiving its
·6· ·A.· ·No.                                                  ·6· · · · objections, Wheelabrator indicates that there
·7· ·Q.· ·Okay.· At the time you received the declaration,     ·7· · · · were 41 'initial declarations' served by
·8· · · · do you recall having any idea as to what that        ·8· · · · Wheelabrator with its supplemental Rule 16
·9· · · · was referring to, that specific portion?             ·9· · · · disclosures on July 12, 2022," correct?
10· ·A.· ·No.                                                  10· ·A.· ·Yes.
11· ·Q.· ·Sitting here today, do you know what 28 U.S.C.       11· ·Q.· ·Do you have any reason to dispute that there
12· · · · 1746 is?                                             12· · · · were 41 declarations produced by Wheelabrator on
13· ·A.· ·No.                                                  13· · · · July 12th?
14· ·Q.· ·Take a look at No. 6 here.· Again, we are            14· ·A.· ·No.
15· · · · looking at Exhibit 3, where it says, "I declare      15· ·Q.· ·All right.· Take a look down in answer No. 4.
16· · · · under penalty of perjury that the foregoing is       16· · · · It's the third bullet point down there.· We are
17· · · · true and correct."                                   17· · · · still on page 5, which, in part, says, quote,
18· · · · · · · ·Did I read that correctly?                    18· · · · "Anthony Cogliano provided the remaining 22
19· ·A.· ·Yes, you did.                                        19· · · · Saugus initial declarations, including his own,
20· ·Q.· ·Did you and Mr. Walsh discuss what that              20· · · · which he signed for himself."
21· · · · statement meant before you talked to any of the      21· · · · · · · ·Did I read that correctly?
22· · · · declarants?                                          22· ·A.· ·You did.
23· ·A.· ·No.                                                  23· · · · · · · ·MR. OETHEIMER:· You did except it's the
24· ·Q.· ·At the time that you went over 1 through 6 with      24· · · · fourth bullet point, Laura.· You said third.

                                                          39                                                         41
·1· · · · Mr. Walsh, do you recall what your understanding     ·1· · · · · · · ·MS. SHEETS:· Okay.· Thank you.
·2· · · · of that specific provision was?                      ·2· ·Q.· ·I read that correctly.· Do you agree with that
·3· · · · · · · ·MR. OETHEIMER:· Objection.                    ·3· · · · statement?
·4· ·A.· ·Yes.                                                 ·4· ·A.· ·I do.
·5· ·Q.· ·Tell me what it was.                                 ·5· ·Q.· ·Sitting here today, it's your testimony that you
·6· ·A.· ·It means the person who agrees to the                ·6· · · · provided Wheelabrator with 22 declarations in
·7· · · · declaration attests to the facts that it's true      ·7· · · · this case prior to July 12th, correct?
·8· · · · and correct.                                         ·8· ·A.· ·Yes.
·9· ·Q.· ·Okay.· I kind of asked you past tense there what     ·9· ·Q.· ·Keeping with Exhibit 4, let's take a look at
10· · · · your understanding was during that particular        10· · · · page 11, and take a minute to read the question
11· · · · day of the blank declaration.· Do you have an        11· · · · and answer at the bottom of page 11 and it goes
12· · · · different understanding what that means today or     12· · · · to pages 12, the answer to interrogatory No. 15.
13· · · · the same?                                            13· · · · Let me know you've had a minute.
14· ·A.· ·Same.                                                14· ·A.· ·All set.
15· ·Q.· ·Okay.· Let's go back now.· You can put Exhibit 3     15· ·Q.· ·Okay.· In this response Wheelabrator states,
16· · · · away here.                                           16· · · · "Wheelabrator states that Anthony Cogliano has
17· · · · · · · ·We are going to go back to Exhibit 4,         17· · · · confirmed that he completed, including by
18· · · · which are the interrogatory answers.· This time      18· · · · signing or entering the names of the declarants,
19· · · · I'm going to direct your attention to page 5 and     19· · · · the following 20 initial declarations served by
20· · · · it's -- you have to actually start at page 4 to      20· · · · Wheelabrator in July 12, 2022."
21· · · · look at the question, the bottom of page 4. I        21· · · · · · · ·Did I read that correctly?
22· · · · would like you to read interrogatory No. 4 and       22· ·A.· ·You did.
23· · · · then Wheelabrator's response to interrogatory        23· ·Q.· ·Then it lists 20 individuals on the next page.
                                                                  YVer1f




24· · · · No. 4 on page 5.· Let me know when you've had a      24· · · · Correct?

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                                                                                                                              YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 13 of 40
                                                                                                               42..45
                                                         42                                                       44
·1· ·A.· ·Yes.                                                ·1· · · · · · · ·Did I read that correctly?
·2· ·Q.· ·Do you agree that this response is accurate?        ·2· ·A.· ·Yes, you did.
·3· ·A.· ·Yes.                                                ·3· ·Q.· ·Okay.· Do you agree that this response is
·4· ·Q.· ·Okay.· Now, I'm going to show you, and take a       ·4· · · · accurate?
·5· · · · look at what has been marked Exhibit 5, please.     ·5· ·A.· ·I do.
·6· · · · Take a couple of minutes.                           ·6· ·Q.· ·Okay.· My question here is going to be a little
·7· · · · · · · ·While you are looking, I will state for      ·7· · · · specific.· In looking at Exhibit 5 and these
·8· · · · the record, I'm going to represent to you these     ·8· · · · declarations, am I correct in understanding that
·9· · · · are declarations that were produced by              ·9· · · · the information, not the signatures, okay,
10· · · · Wheelabrator to us in connection with this case.    10· · · · looking at Exhibit 5, is it your testimony here
11· · · · I believe that there should be 20 there and when    11· · · · today that you filled out the blank parts of the
12· · · · you are done, I'm going to have you double-check    12· · · · declaration contained in Exhibit 5?
13· · · · it and make sure.                                   13· ·A.· ·Yes, I did.
14· · · · · · · ·MR. OETHEIMER:· Laura, these are all the,    14· ·Q.· ·Sorry, I couldn't hear you.
15· · · · quote, 'initial declarations' from June and         15· ·A.· ·Yes, I did.
16· · · · July?                                               16· ·Q.· ·Okay.· Great.· Then a little bit different but
17· · · · · · · ·MS. SHEETS:· Correct.                        17· · · · same vein here, it's your testimony here today
18· ·A.· ·There are 20.                                       18· · · · that you did, in fact, sign each of the
19· ·Q.· ·Okay.· Great.· I'm sorry.· I'm going to make you    19· · · · declarations contained in Exhibit 5, correct?
20· · · · leaf back through there again one more time.        20· ·A.· ·Yes.
21· · · · Because I want to -- Richard already stated         21· ·Q.· ·Did you also date the dates in each of the
22· · · · this, but I want to make sure we are on the same    22· · · · declarations in Exhibit 5?
23· · · · page here -- pun intended -- if all of these        23· ·A.· ·Yes.
24· · · · declarations that you have there in Exhibit 5,      24· ·Q.· ·Keeping going back to Exhibit 4, the

                                                     43                                                           45
·1· · · · those are all dated June and July of 2022,          ·1· · · · interrogatory answers, I want you to turn
·2· · · · correct?                                            ·2· · · · backwards actually and look at page 6.· Take a
·3· ·A.· ·Yes.                                                ·3· · · · minute to read the question and the answer to
·4· ·Q.· ·Okay.· Keep that handy, but I'm going to flip       ·4· · · · interrogatory No. 6, please.
·5· · · · you back to Exhibit 4, the interrogatory            ·5· ·A.· ·Okay.
·6· · · · answers.· I want you to go to page 16 and take a    ·6· ·Q.· ·In the second paragraph it states in part,
·7· · · · minute to read the question and answer to No.       ·7· · · · "Wheelabrator states, based on information and
·8· · · · 21.                                                 ·8· · · · belief, with respect to the 22 initial
·9· · · · · · · ·MR. OETHEIMER:· I'm sorry.                   ·9· · · · declarations provided by Anthony Cogliano, that
10· · · · · · · ·MR. FAMA:· 16.                               10· · · · Anthony Cogliano has indicated he spoke by
11· · · · · · · ·MS. SHEETS:· Sorry.· It should be 16.        11· · · · telephone with 20 Saugus residents named in the
12· · · · Yes.· Page 16, it's interrogatory and answer No.    12· · · · initial declarations on or about the dates that
13· · · · 21.                                                 13· · · · appear on the initial declarations that
14· ·Q.· ·Let me know when you've had a couple of minutes     14· · · · Wheelabrator served on July 12, 2022."
15· · · · to leaf through that.                               15· · · · · · · ·Did I read that accurately?
16· ·A.· ·All set.                                            16· ·A.· ·Yes.
17· ·Q.· ·Specifically, I want you to take a look at this     17· ·Q.· ·Okay.· Do you agree that this response is
18· · · · second paragraph where it states, quote,            18· · · · accurate?
19· · · · "Wheelabrator states that it has acknowledged       19· ·A.· ·Yes.
20· · · · that Anthony Cogliano signed or entered on the      20· ·Q.· ·Okay.· When we look back at Exhibit 5 here, is
21· · · · initial declarations the names of 20 Saugus         21· · · · it your testimony here today that the date on
22· · · · residents and, accordingly, the signatures of       22· · · · each of these declarations is the date that you
23· · · · those 20 Saugus declarants on the initial           23· · · · spoke to the person identified in the
                                                                 YVer1f




24· · · · declarations were not their personal signature."    24· · · · declaration?

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                                                                                                                           YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 14 of 40
                                                                                                                46..49
                                                    46                                                                  48
·1· ·A.· ·Yes.                                               ·1· ·Q.· ·They were all the same?
·2· ·Q.· ·Okay.· For example, let's take a look at what is   ·2· ·A.· ·Yes.
·3· · · · your first one and my first one, Steve Anderson?   ·3· ·Q.· ·Tell me what you said.
·4· ·A.· ·Yes.                                               ·4· ·A.· ·I asked them if they had any problems with odors
·5· ·Q.· ·Okay.· Down at the bottom there it's dated         ·5· · · · from Wheelabrator.· Ash on their property.· Is
·6· · · · 6/11/2022, correct?                                ·6· · · · there quality of life hurt by Wheelabrator?
·7· ·A.· ·Yes.                                               ·7· · · · That's pretty much what the questions ask.
·8· ·Q.· ·It's your recollection here that would have been   ·8· ·Q.· ·Okay.· Did you fill out a declaration at the
·9· · · · the date that you actually spoke to                ·9· · · · same time you were on the phone with the
10· · · · Mr. Anderson, correct?                             10· · · · declarants or was it different for each person?
11· ·A.· ·Yes.                                               11· · · · · · · ·MR. OETHEIMER:· Objection.· You can
12· ·Q.· ·Just to get some timing clear here, when you       12· · · · answer.
13· · · · spoke to the people, the declarants in Exhibit     13· ·A.· ·I believe it was the same time.
14· · · · 5, did you already at the time you talked to       14· ·Q.· ·Okay.· You believe sitting here today --
15· · · · them have a copy of, a blank copy, of the          15· · · · · · · ·MS. SHEETS:· Laura, you froze for a
16· · · · declaration?                                       16· · · · minute.· I'm not sure Robert got your whole
17· ·A.· ·Yes.                                               17· · · · question.
18· ·Q.· ·Okay.· How did you choose who to call?             18· ·Q.· ·Do you believe sitting here today that you
19· ·A.· ·I called people that lived near the facility       19· · · · filled out each declaration contained in Exhibit
20· · · · that I know personally.                            20· · · · 5 at the time that you spoke to the declarant on
21· ·Q.· ·Okay.· Did you call any people who did not fill    21· · · · the phone?
22· · · · out -- who you did not fill out a declaration      22· ·A.· ·Yes.
23· · · · for?                                               23· ·Q.· ·Okay.· Do you have any recollection of having a
24· ·A.· ·No.                                                24· · · · conversation, maybe with someone while you were

                                                        47                                                            49
·1· ·Q.· ·Did anyone give you any instruction on who to      ·1· · · · driving or wherever the case may be, where you
·2· · · · call?                                              ·2· · · · filled out the declaration later?
·3· ·A.· ·No.                                                ·3· ·A.· ·No.
·4· ·Q.· ·Okay.· Before you decided who you were going to    ·4· ·Q.· ·Did you take any notes memorializing who you
·5· · · · call, did you know who was included in the         ·5· · · · talked to?
·6· · · · plaintiff's proposed class?                        ·6· ·A.· ·No.
·7· · · · · · · ·MR. OETHEIMER:· Objection.                  ·7· ·Q.· ·Did you take any notes of people who you wanted
·8· ·A.· ·No.                                                ·8· · · · to call and needed to call back at a later date?
·9· ·Q.· ·Sitting here today, do you have any idea who is    ·9· ·A.· ·No.
10· · · · included in the proposed class?                    10· ·Q.· ·I know you said that you went through some of
11· · · · · · · ·MR. OETHEIMER:· Objection.                  11· · · · the information contained on the declaration.
12· ·A.· ·Just the Sweetlands.                               12· · · · But again, if we need to go individually, we
13· ·Q.· ·Am I correct in my understanding that the only     13· · · · certainly can.· But I think we can avoid it
14· · · · direction you were given with regard to getting    14· · · · depending on your answer to the global question.
15· · · · signatures is just getting in touch with as many   15· · · · · · · ·Do you, sitting here today, have a
16· · · · Saugus people as you could?                        16· · · · specific recollection of telling each one of
17· ·A.· ·Yes.                                               17· · · · these 20 people that you were calling to garner
18· ·Q.· ·Did you prepare a written script or make any       18· · · · testimony in a civil lawsuit?
19· · · · notes of things that you wanted to sort of kind    19· · · · · · · ·MR. OETHEIMER:· Objection.
20· · · · of go through when you made these initial phone    20· ·A.· ·No.
21· · · · calls?                                             21· ·Q.· ·Okay.· It's not your testimony, correct?
22· ·A.· ·No.                                                22· ·A.· ·Correct.
23· ·Q.· ·Okay.· Was each phone call different?              23· ·Q.· ·Did you tell any one of those 20 people that you
                                                                YVer1f




24· ·A.· ·No.                                                24· · · · were calling to get testimony for a pending

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                                                                                                                             YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 15 of 40
                                                                                                                 50..53
                                                         50                                                              52
·1· · · · civil litigation?                                   ·1· · · · declarants, that they had the right to contact
·2· ·A.· ·I probably told a few people that there was a       ·2· · · · attorneys at Liddle Sheets Coulson and ask
·3· · · · pending lawsuit against Wheelabrator and I was      ·3· · · · questions about the lawsuit?
·4· · · · looking to find out whether or not they have any    ·4· ·A.· ·No.
·5· · · · quality-of-life issues at their home                ·5· ·Q.· ·Again, I think you talked about this, but your
·6· · · · attributable to Wheelabrator.· Which ones I had     ·6· · · · answer is no, you did not convey that to any one
·7· · · · that conversation with, I don't know.               ·7· · · · of 20 declarants, correct?
·8· ·Q.· ·Okay.· But certainly as you sit here today there    ·8· ·A.· ·Say that again.
·9· · · · were people who you did not have that               ·9· ·Q.· ·I just want to make sure because we are covering
10· · · · conversation with, correct?                         10· · · · in broad strokes here 20 different declarations,
11· ·A.· ·Yes.                                                11· · · · but it was your testimony you did not inform any
12· ·Q.· ·Again, is it your testimony, sitting here today,    12· · · · one of those 20 people that they had the right
13· · · · that you told each one of these people that they    13· · · · to contact lawyers at Liddle Sheets Coulson,
14· · · · would be submitting a document that would be put    14· · · · correct?
15· · · · to use in a federal court?                          15· · · · · · · ·MR. OETHEIMER:· Objection.· We are still
16· · · · · · · ·MR. OETHEIMER:· Objection.                   16· · · · on the initial declarations, right, Laura?
17· ·A.· ·No, I did not.                                      17· · · · · · · ·MS. SHEETS:· Correct.
18· ·Q.· ·Do you have any specific recollection, again        18· ·Q.· ·You understood that, Anthony, too, right?· If
19· · · · right now I'm just talking about initial            19· · · · you have any concern you are not sure what I'm
20· · · · declarations, okay, we will move on later, but      20· · · · talking about, ask me.· Okay?
21· · · · as it relates to the initial declarations,          21· ·A.· ·Yes.
22· · · · sitting here today, is it your testimony that       22· ·Q.· ·We are on the initial declarations right now.
23· · · · you informed each one of these 20 people that       23· · · · · · · ·Sitting here today, is it your testimony
24· · · · they were signing a document under the penalty      24· · · · that, again, as to these initial declarations in

                                                     51                                                              53
·1· · · · of perjury?                                         ·1· · · · Exhibit 5, that each one of these 20 people
·2· ·A.· ·I didn't say that to any of them.                   ·2· · · · authorized you to sign their names to this
·3· ·Q.· ·I think this is similar to maybe the first          ·3· · · · declaration?
·4· · · · question I asked you, but just to clarify,          ·4· · · · · · · ·MR. OETHEIMER:· Objection.
·5· · · · sitting here today do you have a specific           ·5· ·A.· ·Yes.
·6· · · · recollection of telling each one of these people    ·6· ·Q.· ·You had permission from each person, each one of
·7· · · · that this was a document that was going to be       ·7· · · · these 20 people, to sign their name to these
·8· · · · used in a class action lawsuit?                     ·8· · · · declarations, correct?
·9· ·A.· ·No.                                                 ·9· ·A.· ·Yes.
10· ·Q.· ·But you do have a specific recollection that you    10· ·Q.· ·When you had all of these initial declarations
11· · · · asked each and every person if they experienced     11· · · · completed, who did you turn them over to?
12· · · · odors at their property?                            12· ·A.· ·Jack Walsh.
13· ·A.· ·Yes.                                                13· ·Q.· ·Okay.· How did you do that, in person?
14· ·Q.· ·Similarly, do you have a specific recollection      14· ·A.· ·Yes.
15· · · · of asking each one of those 20 individuals if       15· ·Q.· ·Did you tell Mr. Walsh at the time that you gave
16· · · · they experienced dust they attributed to            16· · · · them to him that you had signed the
17· · · · Wheelabrator at their home?                         17· · · · declarations?
18· ·A.· ·Yes.                                                18· ·A.· ·Yes.
19· ·Q.· ·Sitting here today, did you tell each one of        19· ·Q.· ·Do you remember when that was?
20· · · · those declarants who you talked to, that signing    20· ·A.· ·No.
21· · · · the document may impact their legal rights?         21· ·Q.· ·But it would have been before July 12th,
22· ·A.· ·No.                                                 22· · · · correct?
23· ·Q.· ·Did you tell each and every person who you          23· · · · · · · ·MR. OETHEIMER:· Objection.
                                                                 YVer1f




24· · · · talked to on the phone, the 20 original             24· ·A.· ·No, there's one signed July 2nd.· Did you say

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                                                                                                                              YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 16 of 40
                                                                                                                 54..57
                                                          54                                                            56
·1· · · · July 12th or June 12th?                              ·1· ·A.· ·I think it was Jack.
·2· ·Q.· ·July 12th.                                           ·2· ·Q.· ·What did Jack have to say?
·3· ·A.· ·July, yes.                                           ·3· ·A.· ·That we had to get the signatures of everybody,
·4· ·Q.· ·We can look back at Exhibit 4.· Looking at           ·4· · · · their own signature, on the documents.
·5· · · · interrogatory No. 6, we are talking about the        ·5· ·Q.· ·Okay.· Did he say why?
·6· · · · initial declarations, the second paragraph there     ·6· ·A.· ·Because they had to sign.
·7· · · · at the bottom it says, "The initial declarations     ·7· ·Q.· ·Okay.· Was that the first time that you
·8· · · · that Wheelabrator served on July 12th, 2022."        ·8· · · · developed an understanding in your mind that
·9· · · · · · · ·So these declarations contained in            ·9· · · · these people needed to sign them personally?
10· · · · Exhibit 5 would have been provided to us on July     10· ·A.· ·Yes.
11· · · · 12th.· Understood?                                   11· ·Q.· ·What else did Jack have to say?· Did he indicate
12· ·A.· ·Yes.                                                 12· · · · how you were to go about obtaining these
13· ·Q.· ·Okay.· My question to you was, obviously if we       13· · · · people's signatures?
14· · · · got them on July 12th, that you had given them       14· ·A.· ·He drove me house to house.
15· · · · to Jack Walsh prior to July 12th, correct?           15· ·Q.· ·We are obviously going to dive into the
16· ·A.· ·Yes.                                                 16· · · · supplemental declarations next.· You've been
17· ·Q.· ·Do you have any recollection as to when you did      17· · · · very consistent here.· It looks like you are
18· · · · that, the date?                                      18· · · · doing your job.
19· ·A.· ·No.                                                  19· · · · · · · ·But I prefer to take just a quick break
20· ·Q.· ·But at that time, you told Mr. Walsh that you        20· · · · here.· If you don't mind, let's take ten or 15
21· · · · had signed the declaration, correct?                 21· · · · minutes to stretch and we'll come back and then
22· ·A.· ·Yes.                                                 22· · · · we'll tackle the supplemental ones and I won't
23· ·Q.· ·Did you tell anyone else at Wheelabrator that        23· · · · be very long.
24· · · · you had signed the declaration?                      24· ·A.· ·Fine.

                                                         55                                                         57
·1· ·A.· ·I told -- yeah, I told several people that I         ·1· · · · · · · ·(Recess taken.)
·2· · · · did.                                                 ·2· ·Q.· ·(By Ms. Sheets) Anthony, you have everything in
·3· ·Q.· ·Such as?                                             ·3· · · · front of you still?
·4· ·A.· ·Their attorneys.                                     ·4· ·A.· ·Yes.
·5· ·Q.· ·You are indicating Mr. Oetheimer?                    ·5· ·Q.· ·Okay.· Perfect.· We are back on record, Anthony.
·6· ·A.· ·Yes.                                                 ·6· ·A.· ·Yes.
·7· ·Q.· ·Okay.· Anyone else?                                  ·7· ·Q.· ·I'll let you get situated.· There is a lot of
·8· ·A.· ·I'm not sure if I spoke with Michael O'Friel or      ·8· · · · people.
·9· · · · not.· I spoke to another attorney.                   ·9· · · · · · · ·MR. FAMA:· I wanted to make sure he had
10· ·Q.· ·Did you tell anyone else, aside from the people      10· · · · the same two exhibits in front of him.· That's
11· · · · you identified, that you personally signed the       11· · · · all.
12· · · · declarations?                                        12· · · · · · · ·MS. SHEETS:· Okay.· Sure.
13· ·A.· ·I don't believe so.                                  13· ·Q.· ·I think I touched on this.· I want to make sure
14· ·Q.· ·After you turned over the initial declarations       14· · · · I ask it a little more directly.
15· · · · and you told Mr. Walsh, amongst others, that you     15· · · · · · · ·When were you first informed that you
16· · · · had personally signed the declarations, when was     16· · · · would need to go and get supplemental
17· · · · the next time that anyone contacted you about        17· · · · declarations; do you know?
18· · · · the declarations?                                    18· ·A.· ·The date, no.
19· · · · · · · ·MR. OETHEIMER:· Objection.                    19· ·Q.· ·Do you have any recollection of it being in July
20· ·A.· ·I'm not sure of the date.                            20· · · · or August?
21· ·Q.· ·Do you have a ballpark, August maybe?                21· ·A.· ·No.
22· ·A.· ·Sometime in August.                                  22· ·Q.· ·Again, it was Jack who informed you that you
23· ·Q.· ·Okay.· Do you remember who would have contacted      23· · · · would need to go out and get supplemental
                                                                  YVer1f




24· · · · you?                                                 24· · · · declarations?

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                                                                                                                             YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 17 of 40
                                                                                                               58..61
                                                        58                                                             60
·1· ·A.· ·Yes.                                               ·1· · · · · · · ·Off the record here, Robert.
·2· ·Q.· ·Was it Jack who said he needed to drive you        ·2· · · · · · · ·(Discussion off the record.)
·3· · · · house to house?                                    ·3· ·Q.· ·(By Ms. Sheets) You took a look at Exhibit 6,
·4· ·A.· ·Yes.                                               ·4· · · · which, for the record, as Richard noted, is
·5· ·Q.· ·Did he indicate why?                               ·5· · · · actually 19 supplemental declarations that were
·6· ·A.· ·They wanted to make sure I got the signatures      ·6· · · · produced to us by Wheelabrator on August 30th,
·7· · · · from the people that agreed to sign them.          ·7· · · · 2022.
·8· ·Q.· ·Okay.· Go back to Exhibit 4 that we've been        ·8· · · · · · · ·Have you seen those documents before?
·9· · · · looking at here today.· Take a look at page 6.     ·9· ·A.· ·Yes.
10· ·A.· ·Yeah.                                              10· ·Q.· ·Okay.· You are in agreement here with me when we
11· ·Q.· ·Take a minute to look at it.· Again, we probably   11· · · · go forward and we are talking about supplemental
12· · · · looked at it earlier.· It's the question and       12· · · · declarations, that we are talking about the
13· · · · answer to interrogatory No. 6.                     13· · · · declarations contained in Exhibit 6, correct?
14· ·A.· ·Okay.                                              14· ·A.· ·Yes.
15· ·Q.· ·The fourth paragraph down states that, quote,      15· ·Q.· ·Okay.· You agree with me then that the answer
16· · · · "With respect to the 19 supplemental               16· · · · that Wheelabrator gave that the dates on these
17· · · · declarations from Saugus residents served by       17· · · · would have been the dates that you went and
18· · · · Wheelabrator on August 30, 2022, all 19 are        18· · · · obtained the signature from these people,
19· · · · dated the same date the declarants were            19· · · · correct?
20· · · · approached to sign by Anthony Cogliano."           20· ·A.· ·Yes.
21· · · · · · · ·Did I read that correctly?                  21· ·Q.· ·I'm jumping around a little bit, but whose
22· ·A.· ·You did.                                           22· · · · decision was it that Mr. Walsh was going to
23· ·Q.· ·Do you agree that this response is accurate?       23· · · · accompany you to obtain signatures?
24· ·A.· ·Yes.                                               24· ·A.· ·I don't know.

                                                    59                                                             61
·1· ·Q.· ·It goes on to say, quote, "Jack Walsh drove        ·1· ·Q.· ·He didn't tell you anybody had talked to him
·2· · · · Anthony Cogliano from house to house and from      ·2· · · · about it?
·3· · · · his car he was able to observe most, but not       ·3· ·A.· ·I would imagine it was either their counsel or
·4· · · · all, of the declarants physically sign the         ·4· · · · someone else at Wheelabrator.
·5· · · · supplemental declarations."                        ·5· · · · · · · ·MR. OETHEIMER:· Move to strike.
·6· · · · · · · ·Did I read that correctly?                  ·6· · · · · · · ·MS. SHEETS:· Pardon me.
·7· ·A.· ·You did.                                           ·7· · · · · · · ·MR. OETHEIMER:· I will move to strike.
·8· ·Q.· ·Do you agree that this response is accurate?       ·8· · · · Obviously, he said he doesn't know and then he
·9· ·A.· ·Yes.                                               ·9· · · · volunteered speculation.
10· ·Q.· ·Now, let's take a look at what has been marked     10· ·Q.· ·(By Ms. Sheets) This response says that,
11· · · · as Exhibit 6.· While I'm getting that and you      11· · · · "Mr. Walsh observed most, but not all of the
12· · · · are taking a look at that, I'm going to            12· · · · declarants physically signing the supplemental
13· · · · represent to you that these are 20 supplemental    13· · · · declarations," correct?
14· · · · declarations referenced in the answer we just      14· ·A.· ·Yes.
15· · · · looked at and produced to us by Wheelabrator in    15· ·Q.· ·Do you know which declarations Mr. Walsh did not
16· · · · connection with this case.                         16· · · · observe being physically signed?
17· · · · · · · ·When you have had a few minutes, let me     17· ·A.· ·No.
18· · · · know.                                              18· ·Q.· ·Did Mr. Walsh talk to any of these people?
19· · · · · · · ·MR. OETHEIMER:· Should be 19, you said 20   19· ·A.· ·No.
20· · · · Laura?                                             20· ·Q.· ·Do you know why not?
21· · · · · · · ·MS. SHEETS:· Right, I did say 20.           21· ·A.· ·What's that?
22· · · · · · · ·MR. OETHEIMER:· But I'm correct, it's 19?   22· · · · · · · ·MR. OETHEIMER:· Objection.
23· · · · · · · ·MS. SHEETS:· You are correct.· I think      23· ·Q.· ·Do you know why he did not talk to any of these
                                                                YVer1f




24· · · · there is a little bit --                           24· · · · people?

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                                                                                                                            YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 18 of 40
                                                                                                               62..65
                                                         62                                                           64
·1· · · · · · · ·MR. OETHEIMER:· Objection.                   ·1· ·Q.· ·All of them.· Okay.· Did you call each one of
·2· ·A.· ·I thought it was odd to take a chaperone with me    ·2· · · · them before showing up at their home?
·3· · · · to get their signature.· He took me to the          ·3· ·A.· ·Yes.
·4· · · · house.· I didn't want to -- I didn't bring him      ·4· ·Q.· ·Okay.· What generally did you say?
·5· · · · in with me.· I walked in some places.· Some         ·5· ·A.· ·I said I need to get your signature on the --
·6· · · · people came out to the car to sign.· Some people    ·6· · · · the declarations that I got your permission on
·7· · · · I walked in, they signed it, and brought it back    ·7· · · · the first time, I need your signature on them.
·8· · · · out.· But I'm not sure which ones are which.        ·8· ·Q.· ·Okay.· Sitting here today, is it your testimony
·9· ·Q.· ·I think you are talking about which ones he may     ·9· · · · that you told each of those people that you had
10· · · · have seen.· But do you have any specific            10· · · · already submitted an initial declaration that
11· · · · recollection of him actually talking to any of      11· · · · you signed on their behalf?
12· · · · the declarants?                                     12· ·A.· ·Yes.
13· ·A.· ·He did talk to a couple people that came out to     13· ·Q.· ·Okay.· When you called these people, I just want
14· · · · the car.· He did speak to a few.· Which ones, I     14· · · · to make it clear for the record that we are
15· · · · have no idea.                                       15· · · · talking here 19 people, when you called these 19
16· ·Q.· ·Okay.· Now you know what my next question was.      16· · · · people to go personally obtain their signatures,
17· · · · You are anticipating that.                          17· · · · you informed each one of those people that this
18· · · · · · · ·Okay.· My assessment of these                18· · · · was to get their personal signature because you
19· · · · declarations contained in Exhibit 6 show that       19· · · · had already submitted a declaration on their
20· · · · they were all signed August 22 or August 23rd,      20· · · · behalf that you signed for them; is that
21· · · · correct?                                            21· · · · correct?
22· ·A.· ·Correct.                                            22· · · · · · · ·MR. OETHEIMER:· Objection.
23· ·Q.· ·There is one in there that's kind of a little       23· ·A.· ·Yes.
24· · · · bit illegible.· I don't know.· Do you still         24· ·Q.· ·Do you remember what day you started driving

                                                     63                                                            65
·1· · · · think that's the 23rd or not?· You want to take  ·1· · · · around with Jack to obtain personal signatures?
·2· · · · a look?                                          ·2· · · · Would it have been 8/22 given most of them are
·3· · · · · · · ·MR. OETHEIMER:· Which one are you         ·3· · · · dated that date?
·4· · · · referring us to?                                 ·4· ·A.· ·Sounds correct.
·5· · · · · · · ·MS. SHEETS:· I don't know.· I'm just      ·5· ·Q.· ·Do you remember what time of day you started?
·6· · · · asking him if he thinks that's accurate, they    ·6· ·A.· ·No.
·7· · · · were all signed on 8/22 or 8/23?                 ·7· ·Q.· ·Do you remember what time of day you finished?
·8· · · · · · · ·MR. OETHEIMER:· You want me to answer?    ·8· ·A.· ·No.
·9· ·A.· ·Yes.                                             ·9· ·Q.· ·Is it fair to say here, based on what we are
10· ·Q.· ·Okay.· Based on your review of those documents, 10· · · · looking at though, that you got 17 people to
11· · · · Anthony, do you agree with me that they are all  11· · · · sign on one day, correct?
12· · · · dated 8/22 or 8/23?                              12· ·A.· ·Yes.
13· ·A.· ·Yes.                                             13· ·Q.· ·Okay.· About how much time would you think you
14· ·Q.· ·Okay.· I'm going to ask you to go back through   14· · · · spent with each individual getting their
15· · · · them again, but would you agree with me that 18  15· · · · signature?
16· · · · of declarations are dated 8/22.                  16· ·A.· ·A minute.
17· ·A.· ·I think 17 are dated 8/22.                       17· ·Q.· ·Okay.· Fair to say, then, you didn't go through
18· ·Q.· ·Okay.· I'm sorry, you said 8/22, not April?      18· · · · each statement in the declaration with each
19· ·A.· ·8/22.                                            19· · · · person before taking their signature, correct?
20· ·Q.· ·Okay.· You hinted to this a little bit.· Did you 20· · · · · · · ·MR. OETHEIMER:· Objection.
21· · · · contact any of these people before showing up in 21· ·A.· ·No, I did not.
22· · · · person to obtain their signatures on these       22· ·Q.· ·Okay.· Is it fair to say that -- I know we
23· · · · supplemental declarations?                       23· · · · talked about it -- that you had not said this
                                                                 YVer1f




24· ·A.· ·Yes.· All of them.                               24· · · · during the initial phone conversation to get

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                                                                                                                           YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 19 of 40
                                                                                                                66..69
                                                    66                                                                  68
·1· · · · their initial declaration.· Is it also fair to     ·1· ·Q.· ·Okay.· Do you have any recollection of
·2· · · · say that during that minute meeting with these     ·2· · · · specifically getting Stephanie Fernandez's
·3· · · · 19 individuals, that you did not discuss with      ·3· · · · signature originally?
·4· · · · them that signing could affect their rights in     ·4· ·A.· ·Originally?
·5· · · · pending litigation, correct?                       ·5· ·Q.· ·Correct.
·6· · · · · · · ·MR. OETHEIMER:· Objection.                  ·6· · · · · · · ·First let me back up and ask you.· Who is
·7· ·A.· ·Correct.                                           ·7· · · · Ms. Fernandez?· How do you know her?
·8· ·Q.· ·Did you discuss with any of those 19 individuals   ·8· ·A.· ·She's my brother's girlfriend.
·9· · · · at the time that they could confer with Liddle     ·9· ·Q.· ·Where, approximately, does she live in relation
10· · · · Sheets Coulson about their rights before           10· · · · to this facility?
11· · · · signing?                                           11· ·A.· ·A mile.
12· ·A.· ·No, not one of them.                               12· ·Q.· ·Okay.
13· ·Q.· ·If you take a look the supplemental declarations   13· · · · · · · ·MR. FAMA:· It's not in Exhibit 5.
14· · · · in Exhibit 6, and we talked about this with the    14· · · · · · · ·MS. SHEETS:· Okay.· Understood.
15· · · · initial ones and I want to make sure we are        15· ·Q.· ·But sitting here today, do you, Anthony, do you
16· · · · being clear here, did you show up to see these     16· · · · recall getting a declaration from Ms. Fernandez?
17· · · · people -- maybe it's different, you can tell me    17· ·A.· ·Do I recall?· Yes, I do.
18· · · · if it was different for different people -- but    18· ·Q.· ·Okay.· Was she one of the people who you called
19· · · · did you show up with the declaration filled out    19· · · · up and got information over the phone and then
20· · · · by you and you just obtained their signatures,     20· · · · you filled out a declaration for?
21· · · · or did you show up with blank declarations for     21· ·A.· ·I don't see it in there, so I can't comment if
22· · · · them to fill out?                                  22· · · · that's her signature or not.
23· ·A.· ·I showed up just asking them for their             23· ·Q.· ·Okay.· Sitting here today, do you have a
24· · · · signature.                                         24· · · · specific recollection of getting Ms. Fernandez

                                                    67                                                              69
·1· ·Q.· ·Okay.· So if we are looking again, I believe       ·1· · · · to sign the declaration?
·2· · · · Mr. Anderson is the first person here, his         ·2· ·A.· ·It's her signature on there, yes.
·3· · · · declaration is Exhibit 6, you would have filled    ·3· ·Q.· ·Okay.· Where exactly are you looking at?· Are
·4· · · · out section 1, No. 1?· You would have filled out   ·4· · · · you on Exhibit 6?
·5· · · · No. 1, correct?                                    ·5· ·A.· ·Yes.
·6· ·A.· ·Correct.                                           ·6· ·Q.· ·Or Exhibit 5?
·7· ·Q.· ·That's the case for each one of these 19           ·7· ·A.· ·6.
·8· · · · declarations, correct?                             ·8· ·Q.· ·You are looking at Exhibit 6?
·9· ·A.· ·Yes.                                               ·9· ·A.· ·I am.
10· ·Q.· ·Do you have any recollection, would you have       10· · · · · · · ·MR. OETHEIMER:· So you are missing her
11· · · · already filled out the date for the declaration,   11· · · · first declaration?
12· · · · as well?                                           12· · · · · · · ·MS. SHEETS:· Correct.
13· ·A.· ·Yes.                                               13· · · · · · · ·MR. OETHEIMER:· I mean, I have a copy of
14· · · · · · · ·MR. OETHEIMER:· Objection.                  14· · · · your motion here.
15· ·Q.· ·Sorry.· Yes?                                       15· · · · · · · ·MS. SHEETS:· No, it's okay.· I will find
16· ·A.· ·Yes.                                               16· · · · it during the break, Richard.· There was, like I
17· ·Q.· ·The list of the individuals in Exhibit 4 is a      17· · · · said, there was some overlap.· For example, and
18· · · · little bit different than the list of              18· · · · I will move on here and I will come back to it
19· · · · supplemental declarations that were provided. I    19· · · · after we take a break.
20· · · · know there's differences because you were one of   20· ·Q.· ·You did not get a supplemental declaration from
21· · · · the initial declarants and obviously you signed    21· · · · John Russo.
22· · · · your own declaration.· So you didn't need to       22· ·A.· ·Correct.
23· · · · supplement that, correct?                          23· ·Q.· ·Why not?
                                                                YVer1f




24· ·A.· ·Correct.                                           24· ·A.· ·Because he said that he worked at the facility

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                                                                                                                             YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 20 of 40
                                                                                                                  70..73
                                                           70                                                            72
·1· · · · and after thinking about it, he would rather          ·1· ·A.· ·I started the committee to work with
·2· · · · stay out of it.                                       ·2· · · · Wheelabrator, frustrated that we have lawsuit
·3· ·Q.· ·Okay.· Is he currently working at the facility        ·3· · · · after lawsuit with the town, lose every single
·4· · · · or used to?                                           ·4· · · · one of them, and my thought was that we should
·5· ·A.· ·Used to.                                              ·5· · · · actually work with them and benefit from the
·6· ·Q.· ·Have you spoken with any of declarants contained      ·6· · · · company being in Saugus rather than wasting
·7· · · · in Exhibit 6 since obtaining their signatures in      ·7· · · · hundreds of thousand dollars on litigation and
·8· · · · August?                                               ·8· · · · losing.
·9· ·A.· ·No.· Yeah, I did.· Yes.· I spoke to the people        ·9· ·Q.· ·You said or basically referenced a lot of
10· · · · that were deposed, Craig Serino, John Cooper,         10· · · · litigation.· Specifically, what litigation are
11· · · · and I think that's it.                                11· · · · you referring to?
12· ·Q.· ·Okay.· Are you currently employed?                    12· ·A.· ·Landfill closure, problems with the plant.
13· ·A.· ·I am.                                                 13· ·Q.· ·Were these cases, again that you are
14· ·Q.· ·Tell me what it is that you do.                       14· · · · specifically referencing, where the town of
15· ·A.· ·I own a construction business and I have a real       15· · · · Saugus was actually suing Wheelabrator?
16· · · · estate license.                                       16· ·A.· ·Yes.
17· ·Q.· ·You are also on the Board of Selectmen, correct?      17· ·Q.· ·Do you know when or the last case that you are
18· ·A.· ·Yes.                                                  18· · · · talking about would have been filed?
19· ·Q.· ·Tell me what that means.· We don't use that same      19· ·A.· ·There was a case last year.· I don't know the
20· · · · verbiage here in Michigan.                            20· · · · date.· Last year.
21· ·A.· ·Tell you what that means?                             21· ·Q.· ·Okay.· Understood.· It's your belief that the
22· ·Q.· ·Correct.· To be on the Board of Selectmen.            22· · · · town lost that case?
23· ·A.· ·I ran for office in 2019.· I was a selectman          23· ·A.· ·I believe the town has lost every one of them.
24· · · · from 1991 to 2003.· Then I took a 16-year break       24· · · · So I would imagine we lost that one, too.

                                                          71                                                         73
·1· · · · and ran again in 2019 and got reelected and have      ·1· ·Q.· ·But you don't know, sitting here today
·2· · · · been the chairman of the board since 2019.            ·2· · · · specifically, why that happened?
·3· ·Q.· ·Is it a paid position?                                ·3· ·A.· ·No.
·4· ·A.· ·Yes.· I think I make ten cents an hour.· I make       ·4· ·Q.· ·Do you know if any one of those lawsuits that
·5· · · · $5,000 a year.                                        ·5· · · · you are referencing involved any claim of
·6· ·Q.· ·Okay.· Understood.                                    ·6· · · · Wheelabrator emanating odors into the
·7· · · · · · · ·In your present position, tell me what         ·7· · · · neighborhoods?
·8· · · · your duties are.                                      ·8· ·A.· ·I'm not sure specifically what the cases
·9· ·A.· ·We are the policymakers for the town of Saugus.       ·9· · · · involved.
10· · · · We grant licenses.· We appoint the town manager.      10· ·Q.· ·So if I asked you the same thing about dust, you
11· ·Q.· ·Are you going to put yourself up for reelection       11· · · · wouldn't know, correct?
12· · · · again?                                                12· ·A.· ·Correct.
13· ·A.· ·Yes.                                                  13· ·Q.· ·Take a look what has been marked as Exhibit 7,
14· ·Q.· ·When is that?                                         14· · · · please.· While you are looking at it, I will
15· ·A.· ·November of 2023.                                     15· · · · represent that is a newspaper article from
16· ·Q.· ·Okay.· You are also the co-chair of the               16· · · · Wickedlocal.com entitled Wheelabrator
17· · · · Wheelabrator subcommittee, correct?                   17· · · · Subcommittee Gets Down to Business and it's
18· ·A.· ·Yes.                                                  18· · · · dated November 23, 2020.
19· ·Q.· ·You were made co-chair by order of a vote,            19· ·A.· ·All set.
20· · · · correct?                                              20· ·Q.· ·It is correct when I identified the article is
21· ·A.· ·Yes.                                                  21· · · · dated November 23, 2020, correct?
22· ·Q.· ·Tell me when the subcommittee was formed.             22· ·A.· ·Yes.
23· ·A.· ·It was formed in 2020.                                23· ·Q.· ·In the third paragraph here of this article, it
                                                                   YVer1f




24· ·Q.· ·Why?                                                  24· · · · says here, "As part of that process,

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                                                                                                                              YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 21 of 40
                                                                                                                  74..77
                                                          74                                                              76
·1· · · · Wheelabrator" --                                     ·1· · · · from the company regarding a contingency clause
·2· ·A.· ·Could I stop you for second?· The article that I     ·2· · · · they sought to re-insert to the agreement."
·3· · · · have here says, "Published November 15, 2021."       ·3· · · · · · · ·Did I read that correctly?
·4· ·Q.· ·You are right.· You are right.· Thank you for        ·4· ·A.· ·You did.
·5· · · · correcting that.· Okay.                              ·5· ·Q.· ·Just for purposes of clarity for the record
·6· · · · · · · ·If you look down at the third paragraph       ·6· · · · here, that paragraph there mentions WIN Waste
·7· · · · it says, "As part of that process, Wheelabrator      ·7· · · · Innovations, and you agree with me that's one
·8· · · · subcommittee members have raised the possibility     ·8· · · · and the same as what we were talking about with
·9· · · · of developing a host community agreement between     ·9· · · · Wheelabrator, correct?
10· · · · the town and trash-to-energy company."               10· ·A.· ·Yes.
11· · · · · · · ·Did I read that correctly?                    11· ·Q.· ·Did you not vote?
12· ·A.· ·You did.                                             12· ·A.· ·We voted to table it five to nothing pending
13· ·Q.· ·Okay.· Tell me what this article means when it's     13· · · · more information.
14· · · · talking about a potential host agreement.            14· ·Q.· ·Okay.· What information specifically are you
15· ·A.· ·A host agreement would allow Wheelabrator to         15· · · · waiting for?
16· · · · continue to dump ash at the landfill in exchange     16· ·A.· ·They did an extremely horrible job presenting to
17· · · · for a monetary figure presented to the town of       17· · · · the board what the new deal would be, and we
18· · · · Saugus.                                              18· · · · asked them to go back to the table and give us
19· ·Q.· ·So is it fair to say then with the host              19· · · · some facts and figures before making a decision.
20· · · · agreement, the town of Saugus would benefit          20· ·Q.· ·Okay.· Can you be a little bit more specific for
21· · · · financially from entering into that agreement        21· · · · me in terms of what exactly you would like to
22· · · · with Wheelabrator, correct?                          22· · · · see the next time around.
23· ·A.· ·Yes.                                                 23· ·A.· ·I think we are all expecting to see about a
24· ·Q.· ·Are you generally in favor of that host              24· · · · million dollars a year plus.

                                                      75                                                             77
·1· · · · agreement?                                       ·1· ·Q.·   ·If, in fact, you agree to the host agreement,
·2· ·A.· ·What's that?                                     ·2· · · · correct?
·3· ·Q.· ·Are you generally in favor of a host agreement?  ·3· ·A.· ·I definitely agree to the host agreement.
·4· ·A.· ·Absolutely.                                      ·4· ·Q.· ·Okay.· But if it goes through, if it passes,
·5· ·Q.· ·Take a look at what's been marked as Exhibit 8.  ·5· · · · what your expectation is is that it's a million
·6· · · · When you have a few minutes, let me know when    ·6· · · · dollar plus every year, correct?
·7· · · · you've had a chance to look through.             ·7· ·A.· ·I believe the second go-round will be much
·8· ·A.· ·All set.                                         ·8· · · · better than the first one that they got the
·9· ·Q.· ·Have you seen this article before?               ·9· · · · three votes on.· So I don't think there's going
10· ·A.· ·I have.                                          10· · · · to be a problem passing it.· I just think they
11· ·Q.· ·Just for the record, that is a news article that 11· · · · did a poor job explaining the new deal.
12· · · · was retrieved off of Itemlive.com.· And it's     12· ·Q.· ·Okay.· Understood.
13· · · · entitled Saugus Selectmen Opt Not to Vote on the 13· · · · · · · ·Do you have any idea when the
14· · · · Revised WIN agreement by Charlie McKenna dated 14· · · · subcommittee will meet to vote again?
15· · · · January 17, 2023, correct?                       15· ·A.· ·This is before the Board of Selectmen.· Now, the
16· ·A.· ·Yes.                                             16· · · · subcommittee won't be meeting again until this
17· ·Q.· ·If you look, according to the article in here,   17· · · · is approved and then we will start working on
18· · · · the very first paragraph says, "The Board of     18· · · · other issues.
19· · · · Selectmen on Tuesday evening opted not to vote   19· ·Q.· ·Okay.· Do you have any expectation of when that
20· · · · on a revised host community agreement with WIN   20· · · · will be?
21· · · · Waste Innovations that allows the company to     21· ·A.· ·I'm hoping January 31st.
22· · · · continue operating its ash landfill in exchange  22· ·Q.· ·Okay.· I'm going to jump around a little bit
23· · · · for offering the town free tipping and a lump-   23· · · · here.· Go back to Exhibit 5, which I believe
                                                                  YVer1f




24· · · · sum payment of $1 million pending more details   24· · · · here, I might be wrong, are the initial

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                                                                                                                               YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 22 of 40
                                                                                                             78..81
                                                    78                                                              80
·1· · · · declarations.                                     ·1· · · · actually signed that supplemental declaration?
·2· · · · · · · ·Take a look in there, one of the           ·2· ·A.· ·Absolutely.
·3· · · · declarations was filled out by Sara Cogliano.     ·3· ·Q.· ·Okay.· Understood.· Why don't we take a few
·4· · · · You want to find that one specifically.           ·4· · · · minutes.· Let me go over my questions.· I'm
·5· ·A.· ·Yes.                                              ·5· · · · pretty much wrapping up here.· Let me look at my
·6· ·Q.· ·Are you related to Ms. Cogliano?                  ·6· · · · notes.· We will come back and hopefully get you
·7· ·A.· ·Yes, I'm her nephew.                              ·7· · · · out of here.
·8· ·Q.· ·You are her nephew?                               ·8· ·A.· ·Okay.
·9· ·A.· ·Yes.                                              ·9· · · · · · · ·(Recess taken.)
10· ·Q.· ·You were breaking up there a little bit.          10· · · · · · · ·MS. SHEETS:· Anthony, I don't have any
11· · · · · · · ·You had a conversation with your aunt on   11· · · · further questions today.· I don't know if the
12· · · · the phone and had her permission to sign her      12· · · · other two gentlemen sitting there might have
13· · · · name to the initial declaration before you        13· · · · some for you, which would mean I get to come
14· · · · signed on her behalf, correct?                    14· · · · back and talk to you again.· But we'll see what
15· ·A.· ·Yes.                                              15· · · · they have to say.
16· ·Q.· ·Then do you understand that back during the       16· · · · · · · ·Thank you.
17· · · · summer here, we sought to take her deposition?    17· · · · · · · ·MR. OETHEIMER:· Okay.· All right.
18· · · · Did you understand that?                          18· · · · Anthony, I do have some questions.
19· ·A.· ·Yes.                                              19
20· ·Q.· ·We were made aware of the fact that she had a     20· · · · Examination by Mr. Oetheimer:
21· · · · medical issue, and I'm sorry to hear that. I      21· ·Q.· ·I think I want to sort of clarify some of the
22· · · · hope she is well.                                 22· · · · timeline a little bit.· I understand you are
23· · · · · · · ·Sitting here today, do you have power of   23· · · · sort of being asked to sort of recall things,
24· · · · attorney for Sara Cogliano?                       24· · · · you know, three to six months ago and doing it

                                                    79                                                              81
·1· ·A.· ·I do.                                            ·1· · · · from memory and so I want to go back over some
·2· ·Q.· ·Now I can hear you, but it sounds like you are   ·2· · · · of that and I may have some documents that can
·3· · · · yelling down a tunnel.· Tell me again, please.   ·3· · · · help sort of refresh you, to some extent, about
·4· · · · Shift around a little bit.· Do you have a mike   ·4· · · · the timeline here.
·5· · · · on?                                              ·5· ·A.· ·Okay.
·6· ·A.· ·I am the power of attorney for Sara Cogliano.    ·6· · · · · · · ·MR. OETHEIMER:· First, why don't I begin,
·7· ·Q.· ·Okay.· Were you the power of attorney for Sara   ·7· · · · I'm going to mark as Exhibit 9.· Laura, it's
·8· · · · Cogliano when you signed her initial             ·8· · · · Anthony's own declaration.
·9· · · · declaration?                                     ·9· · · · · · · · · · (Deposition Exhibit No. 9
10· ·A.· ·I was.                                           10· · · · · · · · · · ·marked for identification.)
11· ·Q.· ·Did you produce a supplemental affidavit or      11· ·Q.· ·Mr. Cogliano, what you have in front of you,
12· · · · declaration for Ms. Cogliano as part of the      12· · · · Anthony, has been marked as Exhibit 9.· It's
13· · · · August supplemental disclosures?                 13· · · · entitled Declaration.· It has your name on it.
14· · · · · · · ·MR. OETHEIMER:· Can I hand him Exhibit 6? 14· · · · Let me ask if you can tell us whether that's
15· · · · · · · ·MS. SHEETS:· Correct.                     15· · · · your signature on Exhibit 9?
16· ·A.· ·Yes, I did.                                      16· ·A.· ·It is.
17· ·Q.· ·If you had power of attorney for her, why did    17· ·Q.· ·It says executed on -- do you see the date
18· · · · you produce a second affidavit?                  18· · · · there?
19· ·A.· ·I guess I didn't have to.                        19· ·A.· ·It says 6/11/22.
20· ·Q.· ·Declaration.· Excuse me.· I was using the wrong 20· ·Q.· ·Earlier you had said that you were approached by
21· · · · term.· Your answer was what?                     21· · · · Jack Walsh or someone else.· I think you may
22· ·A.· ·I was told to get everyone's signature, so I got 22· · · · have thought it was Jack Walsh to try to get
23· · · · hers, too.                                       23· · · · some declarations and you said that was in June.
                                                               YVer1f




24· ·Q.· ·Is it your testimony sitting here today that she 24· · · · Then at one point you said you got the form

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                                                                                                                         YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 23 of 40
                                                                                                                   82..85
                                                           82                                                          84
·1· · · · later in June.· At one point you said it may          ·1· ·A.· ·Yes.
·2· · · · have been July, may have been June.                   ·2· ·Q.· ·Paragraph 3 says, "I do not ever notice unusual
·3· · · · · · · ·Does looking at Exhibit 9 sort of refresh      ·3· · · · or unnatural amounts of dust or ash on my
·4· · · · your memory that you had it at least by June 11,      ·4· · · · property."
·5· · · · you had the form?                                     ·5· · · · · · · ·Did I read that correctly?
·6· ·A.· ·Correct.· It's the day I probably got it.             ·6· ·A.· ·You did.
·7· ·Q.· ·Okay.                                                 ·7· ·Q.· ·Was that a true statement at the time you signed
·8· · · · · · · ·MS. SHEETS:· I sorry.· I couldn't hear         ·8· · · · this in June?
·9· · · · the last part of your answer.                         ·9· ·A.· ·Yes.
10· · · · · · · ·THE WITNESS:· I said that's probably the       10· ·Q.· ·Is it a true statement today?
11· · · · day I got it.                                         11· ·A.· ·Yes.
12· · · · · · · ·MS. SHEETS:· Okay.· Understood.· Thank         12· ·Q.· ·Paragraph 4 reads, "I enjoy numerous activities
13· · · · you.                                                  13· · · · outside at my property.· Neither odors, dust,
14· ·Q.· ·(By Mr. Oetheimer) Before we move on from this,       14· · · · nor ash has affected my outdoor activities in
15· · · · you're obviously a resident of this                   15· · · · any way."
16· · · · neighborhood.· How far do you live from the           16· · · · · · · ·Did I read paragraph 4 correctly?
17· · · · plant?                                                17· ·A.· ·Yes.
18· ·A.· ·Less than a mile.                                     18· ·Q.· ·Was that true at the time you signed the
19· ·Q.· ·You have lived there a long time?                     19· · · · statement in June?
20· ·A.· ·56 years.· I lived on one street and moved a          20· ·A.· ·Yes.
21· · · · street over.· Between both of them, within a          21· ·Q.· ·Is it true today?
22· · · · mile of Wheelabrator.                                 22· ·A.· ·Yes.
23· ·Q.· ·Where did you live before living at 27 Serino         23· ·Q.· ·What types of outdoor activities do you engage
24· · · · Way?                                                  24· · · · in at your property?

                                                          83                                                               85
·1· ·A.· ·25 Venice Ave.· I lived there for the first 25        ·1· ·A.· ·Oh, I had a swimming pool there for years.· Just
·2· · · · years of my life.· First 24 years.                    ·2· · · · took it away last year.· Basketball, played with
·3· ·Q.· ·Since then you've lived at 27 Serino Way?             ·3· · · · the kids in the yard when they were little.
·4· ·A.· ·Yes.                                                  ·4· · · · · · · ·MS. SHEETS:· Forgive me, Anthony, for
·5· ·Q.· ·You say on the form, 31 years?                        ·5· · · · interrupting.· I do want to put an objection,
·6· ·A.· ·Correct.                                              ·6· · · · note it on the record here.· The scope of this
·7· ·Q.· ·So you filled this out.· In addition to               ·7· · · · deposition, I think the discovery at this point
·8· · · · soliciting declarations from other residents in       ·8· · · · is limited to obtaining or ascertaining the
·9· · · · the neighborhood, you filled one out yourself         ·9· · · · truth and veracity of the declarations that were
10· · · · because you also are a resident of that               10· · · · provided and not to garner testimony about the
11· · · · neighborhood close to the plant, correct?             11· · · · use of his property.
12· ·A.· ·Yes.                                                  12· · · · · · · ·But sorry if I interrupted you, Anthony.
13· ·Q.· ·Let's just go over your statement.· It says that      13· · · · · · · ·THE WITNESS:· No problem.
14· · · · you own your home, and do you own your home at        14· · · · · · · ·MR. OETHEIMER:· I understand.· Your
15· · · · 27 Serino Way?                                        15· · · · objection is noted, but my questions, I think,
16· ·A.· ·Yes.                                                  16· · · · are seeking to elicit the veracity and accuracy
17· ·Q.· ·Two says, "I do not ever notice noxious odors at      17· · · · of Mr. Cogliano's declarations.· So that seems
18· · · · my home."                                             18· · · · to be squarely within the scope.· But in any
19· · · · · · · ·Is that true?                                  19· · · · event, your objection is noted.
20· ·A.· ·Yes.                                                  20· ·Q.· ·(By Mr. Oetheimer) Paragraph 5, Mr. Cogliano,
21· ·Q.· ·It was true when you signed the statement in          21· · · · reads, "I do not think odors, dust, or ash have
22· · · · June of 2022?                                         22· · · · affected my property value."
23· ·A.· ·Yes.                                                  23· · · · · · · ·Did I read that correctly?
                                                                   YVer1f




24· ·Q.· ·Is it still true today?                               24· ·A.· ·You did.

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                                                                                                                                YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 24 of 40
                                                                                                               86..89
                                                    86                                                                88
·1· ·Q.· ·Was that something you believed when you signed    ·1· · · · but I understand that you completed them
·2· · · · this on June 11, 2022?                             ·2· · · · yourself and signed people's names, correct?
·3· ·A.· ·I know they haven't affected my property value.    ·3· ·A.· ·Yes.
·4· ·Q.· ·How is it you know that?                           ·4· ·Q.· ·At some point the plaintiff, Ms. Sheets' firm,
·5· ·A.· ·I'm a licensed real estate agent and I know how    ·5· · · · sought to take depositions of people.· This is
·6· · · · much my property is worth today compared to what   ·6· · · · back in sort of late July, August time frame.
·7· · · · I bought it for in 1991.                           ·7· · · · Do you recall learning -- including I think your
·8· ·Q.· ·How long have you been a licensed real estate      ·8· · · · aunt was one of the four at that point, who was
·9· · · · agent?                                             ·9· · · · Sara Cogliano and Robert Catinazzo, and if I'm
10· ·A.· ·Ten years.                                         10· · · · remembering correctly, Richard Nuzzo, and there
11· ·Q.· ·Have you ever listed or sold properties in this    11· · · · was a fourth.· But in any event --
12· · · · neighborhood?                                      12· ·A.· ·John Saroufim, I believe.
13· ·A.· ·Yes.· Let me think which ones.· I listed several   13· ·Q.· ·John Saroufim.
14· · · · properties in the neighborhood.· Mostly --         14· · · · · · · ·Do you recall learning that those people
15· · · · mostly commercial stuff.· But have I listed --     15· · · · were being sort of asked or called for
16· · · · no, but I follow along with the real estate,       16· · · · depositions?
17· · · · what homes are worth in that neighborhood, and     17· ·A.· ·Yes.
18· · · · they are pretty significant.                       18· ·Q.· ·Did someone from Wheelabrator or on behalf of
19· · · · · · · ·There's nothing -- there's nothing that     19· · · · Wheelabrator contact you to seek an introduction
20· · · · differentiates that part of Saugus from another    20· · · · to those people?
21· · · · part.                                              21· ·A.· ·Yes.
22· ·Q.· ·Have you ever heard appraisers will sort of        22· ·Q.· ·Do you recall who that was?
23· · · · adjust fair market value for either positive or    23· ·A.· ·I don't.
24· · · · negative attributes of property, is that your      24· ·Q.· ·You testified on direct from Ms. Sheets that you

                                                    87                                                              89
·1· · · · understanding?                                   ·1· · · · thought you had an email with me at one point.
·2· ·A.· ·Yes.                                             ·2· · · · I forget if you said in August or -- I don't
·3· ·Q.· ·Have you ever heard of properties in your Saugus ·3· · · · know if you said August or July honestly.
·4· · · · neighborhood west of the plant being sort of     ·4· · · · · · · ·MR. OETHEIMER:· But let me mark this as
·5· · · · given sort of negative value adjustments because ·5· · · · Exhibit 10.
·6· · · · of the proximity of Wheelabrator?                ·6· · · · · · · · · · (Deposition Exhibit No. 10
·7· ·A.· ·Never.                                           ·7· · · · · · · · · · ·marked for identification.)
·8· · · · · · · ·MS. SHEETS:· Objection.· Richard, none of ·8· · · · · · · ·MR. OETHEIMER:· Laura, you do not have
·9· · · · this is within the scope of what we are here to  ·9· · · · this.· I saw one of the emails we produced there
10· · · · do today whatsoever.· He already testified that  10· · · · was a reference that I was going to text
11· · · · his declaration is accurate and truthful.        11· · · · Mr. Cogliano.· It's a very short text, but I
12· · · · Anything outside of that is superfluous          12· · · · will read it to you in full.
13· · · · testimony.· We are here on a very limited scope. 13· · · · · · · ·It's Monday, August 1, 2022.· "Anthony,
14· · · · · · · ·MR. OETHEIMER:· All right.· Again, your   14· · · · this is Richard Oetheimer, Wheelabrator's
15· · · · objections are noted, but I think to determine   15· · · · attorney.· Please call me," and my cell number
16· · · · the accuracy -- I think I can ask questions that 16· · · · which I won't put in the record, but it is on
17· · · · go to whether -- establishing the accuracy of    17· · · · the text.
18· · · · his declaration.· That is within the scope.      18· ·Q.· ·(By Mr. Oetheimer) Do you recall me reaching out
19· · · · · · · ·But in any event, I think I have          19· · · · to you in early August?
20· · · · completed my examination concerning              20· ·A.· ·Yes.
21· · · · Mr. Cogliano's own personal declaration and I    21· ·Q.· ·Do you recall providing telephone numbers to me
22· · · · will move on to other topics.                    22· · · · for some of the people whose depositions had
23· ·Q.· ·(By Mr. Oetheimer) Now, the initial declarations 23· · · · been noticed?
                                                                YVer1f




24· · · · were in Exhibit 5.· We can get them out again,   24· ·A.· ·Yes.

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                                                                                                                           YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 25 of 40
                                                                                                              90..93
                                                    90                                                               92
·1· ·Q.· ·Do you know whether we ever -- and actually I      ·1· ·A.· ·Yes.
·2· · · · texted you I think because your voice mail box     ·2· ·Q.· ·Do you know whether the statement that Richard
·3· · · · was full.· I don't think we spoke this day.· But   ·3· · · · Nuzzo in poor health and not able to leave his
·4· · · · do you recall that you did call me back?           ·4· · · · home, do you know if that's correct?
·5· ·A.· ·Yes.                                               ·5· ·A.· ·100 percent accurate.
·6· ·Q.· ·And provided telephone numbers?                    ·6· ·Q.· ·Did you at some point visit Mr. Nuzzo to seek to
·7· ·A.· ·Yes.                                               ·7· · · · obtain a statement or declaration from him?
·8· ·Q.· ·Do you recall me subsequently contacting you       ·8· ·A.· ·Yes.
·9· · · · again to ask you about who had signed after I      ·9· ·Q.· ·What is his health condition?· Do you have an
10· · · · spoke with Mr. Catinazzo, I believe it was?        10· · · · understanding?
11· ·A.· ·Yes.                                               11· ·A.· ·He is obese.
12· ·Q.· ·I told you that he had told me that he had         12· ·Q.· ·He is morbidly obese?
13· · · · spoken with you but he hadn't signed the           13· ·A.· ·Yes.
14· · · · statement?                                         14· ·Q.· ·And not able to sort of leave his house for
15· ·A.· ·Yes.                                               15· · · · mobility.· Have you known Mr. Nuzzo a long time?
16· ·Q.· ·Do you recall that?                                16· ·A.· ·56 years.
17· ·A.· ·Yes.                                               17· ·Q.· ·Do you also know his brother Anthony?
18· ·Q.· ·Do you know when that conversation occurred?       18· ·A.· ·Yes.
19· ·A.· ·No.                                                19· ·Q.· ·Mr. Nuzzo is one of people who ultimately was
20· ·Q.· ·Let me refer you to Exhibit 4.· These are          20· · · · deposed, not in August but in December.· He was
21· · · · Wheelabrator's interrogatory answers that          21· · · · shown declarations and had some difficulty sort
22· · · · Ms. Sheets had referred you to earlier.· I'm       22· · · · of recognizing or authenticating his signature.
23· · · · going to refer you specifically to the page, the   23· · · · Did you get Mr. Nuzzo's signature on a
24· · · · bottom of page 14 and top of page 15.· This is     24· · · · declaration?

                                                    91                                                           93
·1· · · · the answer to interrogatory No. 18.                ·1· ·A.· ·Yes.
·2· · · · · · · ·MR. FAMA:· 13 and 14?                       ·2· · · · · · · ·MS. SHEETS:· Richard, we are talking
·3· ·A.· ·Did you say 14 and 15?                             ·3· · · · about the supplemental declaration, correct?
·4· ·Q.· ·Starting on page 14.                               ·4· ·Q.· ·Do you know when you got his signature?
·5· ·A.· ·Okay.                                              ·5· ·A.· ·It was the second go-round.
·6· ·Q.· ·These are the four people that were noticed for    ·6· ·Q.· ·The next paragraph on page 14 says that,
·7· · · · depositions.· I think they were noticed in July,   ·7· · · · "Attorney Oetheimer spoke with John Saroufim on
·8· · · · they were scheduled for August 15th.               ·8· · · · August 8th, 2022."
·9· · · · · · · ·First, in the second paragraph it refers    ·9· · · · · · · ·Obviously you don't know whether I spoke
10· · · · to your aunt, Sara Cogliano.· And it says,         10· · · · with Mr. Saroufim or not, correct?
11· · · · "Counsel did not contact Sara Cogliano, as         11· ·A.· ·I think you told me you did.
12· · · · Wheelabrator had been advised by her nephew,       12· ·Q.· ·You would only know from me?
13· · · · Anthony Cogliano, that she had sustained           13· ·A.· ·Correct.
14· · · · injuries in a fall and would not be able to        14· ·Q.· ·In other words, you didn't hear it from him?
15· · · · appear."                                           15· ·A.· ·Right.
16· · · · · · · ·Is it true that your aunt had sustained     16· ·Q.· ·I'm not asking you to take my word on this, but
17· · · · injuries in a fall sometime around this time?      17· · · · it says that, "Mr. Saroufim stated," in other
18· ·A.· ·Yes.                                               18· · · · words, stated to me, "that he had moved to
19· ·Q.· ·Then it says, the next paragraph says, "Attorney   19· · · · Florida the month before, i.e., in July of
20· · · · Oetheimer spoke on August 3, 2022, with Richard    20· · · · 2022."
21· · · · Nuzzo who said that he was not able to leave his   21· · · · · · · ·Do you know if he had moved?
22· · · · home to attend a deposition due to his poor        22· ·A.· ·He has moved.
23· · · · health."                                           23· ·Q.· ·He was around back at the time you got the
                                                                YVer1f




24· · · · · · · ·Do you see that?                            24· · · · initial declarations in June or July, he was

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                                                                                                                          YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 26 of 40
                                                                                                                94..97
                                                           94                                                      96
·1· · · · still here?                                           ·1· · · · Mr. O'Friel where we asked you about all the
·2· ·A.· ·Correct.                                              ·2· · · · declarations?
·3· ·Q.· ·But by August he had moved?                           ·3· ·A.· ·Yes.
·4· ·A.· ·Correct.                                              ·4· ·Q.· ·Do you have a recollection that at one point
·5· ·Q.· ·So you did not go out in August, you were not         ·5· · · · earlier in that call you were speaking and you
·6· · · · asked to go out and try to get a new declaration      ·6· · · · were on mute and we had to tell you to turn on
·7· · · · from him because he was no longer here; is that       ·7· · · · your mike?
·8· · · · right?                                                ·8· ·A.· ·Did we do a Zoom call?· Is that what it was?
·9· ·A.· ·I would have loved to have gone to Florida.           ·9· ·Q.· ·I honestly don't remember, whether it's Zoom,
10· ·Q.· ·Yes.· It's a little hot in Florida in August.         10· · · · Teams, or a call, but I know we spoke on the
11· · · · Trust me.                                             11· · · · morning of the 12th.
12· · · · · · · ·The next paragraph states that, "Attorney      12· · · · · · · ·In any event, whether it was Zoom or
13· · · · Oetheimer spoke with Richard Catinazzo on August      13· · · · Teams, you recall that we had a call and we
14· · · · 9, 2022."                                             14· · · · asked you about the declarations?
15· ·A.· ·Robert Catinazzo.                                     15· ·A.· ·Yes.
16· ·Q.· ·Robert Catinazzo.· I'm sorry.                         16· ·Q.· ·What did you tell us on that call?
17· · · · · · · ·It says, "When counsel referenced the          17· ·A.· ·That I signed them.
18· · · · statement he signed earlier in the summer 2022,       18· ·Q.· ·Right.· To the best of your knowledge, the call
19· · · · Mr. Catinazzo said he did not sign any                19· · · · that I had with you on August 10th and then the
20· · · · statement."                                           20· · · · follow-up call with myself and Michael O'Friel
21· · · · · · · ·On the next page, it says that I had a         21· · · · on -- call on August 10th about Mr. Catinazzo's
22· · · · telephone number for you, do you recall me            22· · · · declaration and the follow-up call on August
23· · · · calling you to tell you that Mr. Catinazzo had        23· · · · 12th where we talked about the other
24· · · · said he had not signed the statement?                 24· · · · declarations, to the best of your knowledge and

                                                       95                                                          97
·1· ·A.· ·Yes.                                                  ·1· · · · recollection, was that the first time that the
·2· ·Q.· ·What did you tell me in response?                     ·2· · · · issue of the signatures came up?
·3· ·A.· ·That I signed it.                                     ·3· ·A.· ·Yes.
·4· ·Q.· ·Do you recall that shortly after that, we             ·4· · · · · · · ·MS. SHEETS:· I would just like you to
·5· · · · arranged a call with myself and you and the           ·5· · · · clarify for the record, Richard.· Came up with
·6· · · · in-house attorney from Wheelabrator, Michael          ·6· · · · who?· With you?
·7· · · · O'Friel, because we wanted to find out basically      ·7· ·Q.· ·(By Mr. Oetheimer) That was the first time that
·8· · · · whether you had signed other statements?              ·8· · · · anybody on behalf of Wheelabrator had asked you
·9· ·A.· ·Yes.                                                  ·9· · · · whose signatures were on those declarations?
10· ·Q.· ·Do you have a recollection, independent               10· ·A.· ·Correct.
11· · · · recollection, of when that call was?                  11· · · · · · · ·MS. SHEETS:· Objection.
12· ·A.· ·I don't know the date.                                12· ·Q.· ·Those conversations were with myself and
13· ·Q.· ·Was it soon after when I spoke with you on            13· · · · Mr. O'Friel, correct?
14· · · · August 10th?                                          14· ·A.· ·Yes.
15· ·A.· ·Yes.                                                  15· ·Q.· ·Prior to those conversations, that issue, the
16· ·Q.· ·Going back to Exhibit 10, this is kind of a           16· · · · issue of who had signed the declarations, had
17· · · · strange message, but do you see the text there,       17· · · · not been discussed by you with me or with
18· · · · Friday, August 12th?                                  18· · · · Mr. O'Friel?
19· ·A.· ·Yes.                                                  19· ·A.· ·Correct.
20· ·Q.· ·"You were on mute."                                   20· ·Q.· ·Or with Mr. Walsh or anyone else at
21· · · · · · · ·Do you have any recollection -- do you         21· · · · Wheelabrator?
22· · · · know what that refers to?                             22· ·A.· ·Correct.
23· ·A.· ·I don't.                                              23· ·Q.· ·On Exhibit 6, which is the so-called
                                                                   YVer1f




24· ·Q.· ·Do you recall having a call with both myself and      24· · · · supplemental, the August declarations, you were

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                                                                                                                            YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 27 of 40
                                                                                                               98..101
                                                         98                                                            100
·1· · · · asked by Ms. Sheets whether they were all signed    ·1· · · · people?
·2· · · · on August 22nd and 23rd?                            ·2· ·A.· ·Yes.
·3· ·A.· ·Yes.                                                ·3· ·Q.· ·If you still have Exhibit 4 in front of you, why
·4· ·Q.· ·I'm going to refer you -- I have to first hand      ·4· · · · don't you read -- I know Ms. Sheets had you do
·5· · · · them back to you.· Before I hand them back to       ·5· · · · this with several of the interrogatory answers.
·6· · · · you, do you recall when you first made              ·6· · · · I'm not sure she did it with this one or not.
·7· · · · arrangements to go around and see people, that      ·7· · · · · · · ·Why don't you read the answer to
·8· · · · there were people who sort of were away or          ·8· · · · interrogatory No. 18, which begins at page 14 in
·9· · · · weren't available initially?                        ·9· · · · its entirety.· It starts on page 14 and ends
10· ·A.· ·Correct.                                            10· · · · towards the bottom of page 15 and take your time
11· ·Q.· ·Ultimately, John Russo didn't sign, correct?        11· · · · to read it and then I will ask you about it.
12· ·A.· ·Correct.                                            12· ·A.· ·Okay.
13· ·Q.· ·For the reasons you stated.· Do you recall          13· ·Q.· ·I understand that there is some information
14· · · · whether had he been away initially when you         14· · · · within interrogatory No. 18 that you wouldn't
15· · · · tried to get his signature?                         15· · · · know.· For example, you don't know when I called
16· ·A.· ·I don't recall.                                     16· · · · Ms. Sheets to tell her about the signature
17· ·Q.· ·Well, that's understandable.                        17· · · · issue, correct?
18· · · · · · · ·Let me hand you back Exhibit 6.· I'm         18· ·A.· ·Correct.
19· · · · going to refer you the declaration of Anthony       19· ·Q.· ·You obviously also don't know whether
20· · · · Nuzzo.· Anthony is Richard's brother?               20· · · · declarations, you don't know anything about
21· ·A.· ·Yes.                                                21· · · · declarations obtained from Revere residents,
22· ·Q.· ·They live side by side?                             22· · · · correct?
23· ·A.· ·Yes.                                                23· ·A.· ·Correct.
24· ·Q.· ·By the way, did they always live at that address    24· ·Q.· ·But insofar as it relates to things you do know,

                                                     99                                                            101
·1· · · · or that location?                                ·1· · · · is there anything in the answer to interrogatory
·2· ·A.· ·They did.                                        ·2· · · · No. 18 that you disagree with?
·3· ·Q.· ·Then at some point the family house was --       ·3· ·A.· ·No.
·4· ·A.· ·They had probably an 800-square-foot house on ·4· ·Q.· ·Insofar as it concerns events that concern you
·5· · · · that lot and then they tore it down and built a  ·5· · · · that you were involved in, everything in answer
·6· · · · duplex on the lot.                               ·6· · · · to interrogatory No. 18 is accurate so far as
·7· ·Q.· ·So the brothers are side by side there now?      ·7· · · · you are aware; is that right?
·8· ·A.· ·Yes.                                             ·8· ·A.· ·Yes.
·9· ·Q.· ·But they have lived there all their life?        ·9· ·Q.· ·Now, just as Ms. Sheets did earlier, I'll ask
10· ·A.· ·Correct.                                         10· · · · you some global questions and we can go to
11· ·Q.· ·Just in a different physical home?               11· · · · individuals if we need to.· But with respect to
12· ·A.· ·Right.                                           12· · · · the August -- Exhibit 6, you still have it in
13· ·Q.· ·Do you see the date on Anthony Nuzzo's August    13· · · · front of you?· These are the August ones.· These
14· · · · supplemental declaration?                        14· · · · were all signed?· Make sure you have Exhibit 6.
15· ·A.· ·Yes.                                             15· · · · · · · ·MR. FAMA:· He does.
16· ·Q.· ·Can you read the date?                           16· ·Q.· ·So the 19 supplemental declarations in Exhibit
17· ·A.· ·It looks like 8/23 or 8/28, but it's not 8/22.   17· · · · 6, were those 19 declarations -- and flip
18· ·Q.· ·Okay.· It could be August 28th?                  18· · · · through them if you would like to because I want
19· ·A.· ·It could be.                                     19· · · · you to confirm -- now you understand that you
20· ·Q.· ·Do you have any recollection that Mr. Nuzzo was  20· · · · are under oath today, correct?
21· · · · one of the people you sort of had to go back to? 21· ·A.· ·Yes.
22· ·A.· ·Yes.                                             22· ·Q.· ·I want you to affirm for the record and for the
23· ·Q.· ·Because he was not available, for whatever       23· · · · Court that all 19 of those supplemental
                                                                 YVer1f




24· · · · reason, when you first went out to most of the   24· · · · declarations were personally physically signed

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                                                                                                                             YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 28 of 40
                                                                                                               102..105
                                                           102                                                         104
·1· · · · by the residents who are named in those                ·1· ·A.· ·No.
·2· · · · declarations?                                          ·2· ·Q.· ·Did anyone say they disagreed with anything on
·3· ·A.· ·Yes, they are.                                         ·3· · · · the form?
·4· ·Q.· ·You personally obtained all of those signatures?       ·4· ·A.· ·No.
·5· ·A.· ·I did.                                                 ·5· ·Q.· ·Now, on the bottom of the form, you can look at
·6· ·Q.· ·Mr. Walsh saw some people sign because some            ·6· · · · whichever one is in front of you, do you see the
·7· · · · people were in their yard or came out to the           ·7· · · · triple asterisk at the bottom?
·8· · · · car, correct?                                          ·8· ·A.· ·Yes.
·9· ·A.· ·Correct.                                               ·9· ·Q.· ·That was on every document that people signed?
10· ·Q.· ·Some people he didn't see because you may have         10· ·A.· ·Yes.
11· · · · gone up to them in the house, correct?                 11· ·Q.· ·Did anyone ask you about that?
12· ·A.· ·Correct.                                               12· ·A.· ·No.
13· ·Q.· ·But you saw everyone sign?                             13· ·Q.· ·Did you call it to anyone's attention?
14· ·A.· ·Yes.                                                   14· ·A.· ·No.
15· ·Q.· ·Did you pressure or coerce anyone to sign?             15· ·Q.· ·Did you provide any advice to anyone as to
16· ·A.· ·No.                                                    16· · · · whether they should sign or not sign?
17· ·Q.· ·Did you ask anyone to sign as a favor to you?          17· ·A.· ·No.
18· ·A.· ·No.                                                    18· · · · · · · ·MR. OETHEIMER:· Why don't we take a
19· ·Q.· ·Did you ask anyone to sign saying, like, you had       19· · · · moment.· Just take a couple of minutes.· Let's
20· · · · already signed it, and so, you know, you would         20· · · · see if I have covered everything I wanted to
21· · · · be in a pickle or a problem if they didn't sign,       21· · · · cover.· I think so.
22· · · · anything to that effect?                               22· · · · · · · ·(Recess taken.)
23· ·A.· ·I don't recall.                                        23· · · · · · · ·MR. OETHEIMER:· Laura, you are up now if
24· ·Q.· ·Were you acting in your personal capacity?             24· · · · you have anything further.

                                                      103                                                           105
·1· ·A.· ·Yes.                                                   ·1· · · · · · · ·MS. SHEETS:· Okay.
·2· ·Q.· ·As a resident of the neighborhood?                     ·2· · · · · · · ·Leo, I'm presuming you don't have any
·3· ·A.· ·Correct.                                               ·3· · · · questions?
·4· ·Q.· ·Did you feel you were asking them as a town            ·4· · · · · · · ·MR. FAMA:· No, I don't have any
·5· · · · official?                                              ·5· · · · questions.
·6· ·A.· ·No.                                                    ·6· · · · · · · ·MS. SHEETS:· Okay.· I just have a couple
·7· ·Q.· ·So you were not doing this in your official            ·7· · · · of follow-ups, Anthony.· I want to make sure I
·8· · · · capacity?                                              ·8· · · · clarify something.
·9· ·A.· ·No.                                                    ·9
10· ·Q.· ·Did you either ask people the questions on the         10· · · · Examination by Ms. Sheets:
11· · · · form on Exhibit 3 or ask them to read them?            11· ·Q.· ·Your testimony earlier today when I asked you,
12· ·A.· ·I asked them questions.                                12· · · · and again we are looking at the first set, okay,
13· ·Q.· ·Is there anyone who signed who said that they          13· · · · not the supplemental, but the first set of
14· · · · did experience odors?                                  14· · · · declarations, when you had them all filled out,
15· ·A.· ·No.                                                    15· · · · I asked you who you gave those to, correct?
16· ·Q.· ·Is there anyone who resisted signing?                  16· ·A.· ·Yes.
17· ·A.· ·No.· The only --                                       17· ·Q.· ·Your testimony, and correct me if I'm wrong, was
18· ·Q.· ·Mr. Russo?                                             18· · · · that you gave those completed initial
19· ·A.· ·Mr. Russo.                                             19· · · · declarations to Jack Walsh, correct?
20· ·Q.· ·He just said he wasn't sure if he should because       20· ·A.· ·I believe so.
21· · · · he had worked at Wheelabrator?                         21· ·Q.· ·Okay.· Today earlier I asked you at the time if
22· ·A.· ·Correct.                                               22· · · · you had informed Mr. Walsh that at the time that
23· ·Q.· ·Did Mr. Russo indicate that he had any problems        23· · · · you gave them to him, that you had signed those
                                                                    YVer1f




24· · · · with odors or dust from Wheelabrator?                  24· · · · declarations and you responded yes.· Do you

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                                                                                                                              YVer1f
           Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 29 of 40
                                                                                                                    106..109
                                                          106                                                          108
·1· · · · recall that?                                          ·1· ·Q.· ·-- by anyone from Wheelabrator?
·2· · · · · · · ·MR. OETHEIMER:· Objection.                     ·2· ·A.· ·No.
·3· ·A.· ·I don't know if I told Jack at that time or not.      ·3· ·Q.· ·Okay.· Understood.· Thank you.· That's all I
·4· · · · I know I told him, but I don't know when it was.      ·4· · · · have.
·5· ·Q.· ·Okay.· Also, you talked a little bit to Richard       ·5· ·A.· ·Let me just rephrase that.
·6· · · · about your experience as a real estate agent. I       ·6· · · · · · · ·I was instructed after the first set that
·7· · · · can appreciate that.                                  ·7· · · · I had to have the people sign them.· That's my
·8· · · · · · · ·Is it your understanding that the claim        ·8· · · · instruction.
·9· · · · in our case, if you do understood it at all, is       ·9· · · · · · · ·MS. SHEETS:· You are correct.· That's a
10· · · · that valuation, property values in the area,          10· · · · good clarification.· My question was regarding
11· · · · have not increased at all over time as a result       11· · · · initial declarations.· Understood.· We are on
12· · · · of the facility's proximity to people homes?          12· · · · the same page.
13· ·A.· ·Could you repeat the question.                        13· · · · · · · ·Thank you very much for coming today. I
14· ·Q.· ·Sure.                                                 14· · · · appreciate it.
15· · · · · · · ·Is it your understanding that we are           15· · · · · · · ·MR. OETHEIMER:· Okay.
16· · · · claiming in this case that property values have       16· · · · · · · ·(Deposition concluded at 4:33 p.m.)
17· · · · never increased in the area as a result of being      17
18· · · · a neighbor of Wheelabrator?                           18
19· ·A.· ·No, I don't believe anyone would make that            19
20· · · · statement.· They have never increased over 46         20
21· · · · years?· I think that would be crazy.                  21
22· ·Q.· ·Correct.· Okay.· So you don't have an                 22
23· · · · understanding then that we are alleging that the      23
24· · · · proximity of the facility in its current state        24

                                                     107                                                               109
                                                                ·1· · · · · · · · · · CERTIFICATE
·1· · · · is an internal factor that negatively impacts
                                                                ·2
·2· · · · property values, correct?
                                                                ·3
·3· ·A.· ·I have no idea what you're claiming.· I can't
                                                                ·4· · · · · · · ·I, ANTHONY COGLIANO, do hereby
·4· · · · say that.                                             · · ·certify that I have read the foregoing
·5· ·Q.· ·Okay.· Understood.· Your experience as a real         ·5· ·transcript of my testimony, and I further
·6· · · · estate agent, have you ever done a mass               · · ·certify that said transcript is a true and
·7· · · · appraisal?                                            ·6· ·accurate record of said testimony.

·8· ·A.· ·I don't do appraisals.                                ·7
                                                                · · · · · · Signed under the penalties of perjury
·9· ·Q.· ·In your experience as a real estate agent, have
                                                                ·8· ·this· · · · day of· · · · · · , 2023.
10· · · · you ever looked at a stigma as an external
                                                                ·9
11· · · · factor that would negatively impact property
                                                                10
12· · · · values?                                               11
13· ·A.· ·No.                                                   12· · · · · · · · · · · · · · ANTHONY COGLIANO
14· ·Q.· ·Okay.· The only other thing I wanted to ask you       13
15· · · · is, again after your testimony here today, it         14

16· · · · sounds to me, again, correct me if I'm wrong,         15

17· · · · that you were talked to by several people and         16
                                                                17
18· · · · asked about getting these declarations done for
                                                                18
19· · · · Wheelabrator, correct?
                                                                19
20· ·A.· ·Yes.                                                  20
21· ·Q.· ·At any point were you ever given any instruction      21
22· · · · or direction as to how to get those declarations      22
23· · · · signed --                                             23
                                                                     YVer1f




24· ·A.· ·No.                                                   24


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              Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 30 of 40
                                                                                  110..111
                                                         110
·1·   · · · · · · · · ·CERTIFICATE
·2
·3·   ·COMMONWEALTH OF MASSACHUSETTS )
· ·   · · · · · · · · · · · · · · · ·)· ss.
·4·   ·COUNTY OF MIDDLESEX· · · · · ·)
·5
· ·   · · · · · · ·I, Robert M. Bramanti, Registered
·6·   ·Merit Reporter and Notary Public within and for
· ·   ·the Commonwealth of Massachusetts, do hereby
·7·   ·certify:
·8·   · · · · · · ·That, ANTHONY COGLIANO, the witness
· ·   ·whose deposition is hereinbefore set forth, was
·9·   ·duly sworn by me, and that the foregoing
· ·   ·transcript is a true record of the testimony
10·   ·given by such witness.
11·   · · · · · · ·I further certify that I am not
· ·   ·related to any of the parties in this matter by
12·   ·blood or marriage, and that I am in no way
· ·   ·interested in the outcome of this matter.
13
· ·   · · · · · · ·IN WITNESS WHEREOF, I have
14·   ·hereunto set my hand and seal this· ·31st· ·day
· ·   ·of· ·January· · · ·2023.
15
16
17
· ·   · · · · · · · · · · ·Notary Public
18
19
· ·   ·My Commission expires:
20·   ·September 9, 2027
21
22
23
24


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· · · · · · E R R A T A· · S H E E T

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· · · · · · · · ·ANTHONY COGLIANO· · ·DATE



                      BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 31 of 40
                                                                                                               112

                        86:2                   89:13 91:20 93:8,20                          acting 102:24
    Exhibits                                   94:14,18                         6
                       12 40:9 41:12,20                                                     action 6:3 10:19
                        45:14                 2023 71:15 75:15                               11:2,9,22 27:9 51:8
Ex 1 Cogliano 9:9                                                    6 37:16,20 38:14,24
                       12th 40:13 41:7        21 43:8,13              45:2,4 54:5 58:9,13   activities 84:12,14,
Ex 2 Cogliano           53:21 54:1,2,8,11,                            59:11 60:3,13 62:19    23
 12:9,20 16:4           14,15 95:18 96:11,
                                              22 31:6 40:18 41:6
                                                                      66:14 67:3 69:4,7,8
                        23
                                               45:8 62:20                                   actually 28:12
Ex 3 Cogliano                                                         70:7 79:14 97:23
                                                                                             29:19 36:20 39:20
 20:1 25:14,15,21      13 91:2                22nd 13:4 98:2          98:18 101:12,14,17
                                                                                             45:2 46:9 60:5
 37:17,18,22 38:15                                                                           62:11 72:5,15 80:1
                       14 90:24 91:2,3,4      23 73:18,21            6/11/2022 46:6
 39:15 103:11                                                                                90:1
                        93:6 100:8,9          23rd 62:20 63:1        6/11/22 81:19
Ex 4 Cogliano                                  98:2                                         addendum 31:6
 30:21 39:17 41:9      15 41:12 56:20 74:3
 43:5 44:24 54:4        90:24 91:3 100:10     24 83:2                           7           addition 19:3 83:7
 58:8 67:17 90:20
                       15th 91:8              25 83:1                                       address 5:20 30:14
 100:3                                                               7 73:13                 98:24
                       16 40:8 43:6,10,11,    27 5:22 13:4 82:23
Ex 5 Cogliano           12                                           70s 26:10,12           adjust 86:23
                                               83:3,15
 42:5,24 44:7,10,12,
 19,22 45:20 46:13,    16-year 70:24          28 37:24 38:11                                adjustments 87:5
 14 48:19,20 53:1                                                               8
 54:10 68:13 69:6
                       17 63:17 65:10         28th 99:18                                    advance 16:20
                        75:15                                                                17:17
 77:23 87:24                                  2nd 53:24              8 4:3 75:5
Ex 6 Cogliano          1746 38:1,12                                                         advice 104:15
                                                                     8/22 63:7,12,16,17,
 59:11 60:3,13 62:19   18 63:15 91:1 100:8,              3            18,19 65:2 99:17      advised 91:12
 66:14 67:3 69:4,8      14 101:2,6
 70:7 79:14 97:23                                                    8/23 63:7,12 99:17     affect 66:4
 98:18 101:12,14,16,   19 58:16,18 59:19,     3 20:1 25:14,15,21
                        22 60:5 64:15 66:3,    32:13,19 37:18,22     8/28 99:17             affected 84:14
 17                                                                                          85:22 86:3
                        8 67:7 101:16,17,23    38:15 39:15 84:2      800-square-foot
Ex 7 Cogliano                                  91:20 103:11           99:4                  affidavit 79:11,18
 73:13                 1991 70:24 86:7
                                              30 58:18               80s 26:14              affirm 101:22
Ex 8 Cogliano          1999 10:13
 75:5                                         30th 60:6              8th 93:8               after 8:16 18:22
                                              31 83:5                                        55:14 69:19 70:1
Ex 9 Cogliano                    2
                                                                                             72:3 90:9 95:4,13
 81:7,9,12,15 82:3                            31st 77:21                        9            107:15 108:6
                       2 12:9,20 16:4
Ex 10 Cogliano                                                                              afternoon 4:18
 89:5,6 95:16          20 41:19,23 42:11,                            9 81:7,9,12,15 82:3
                                                         4
                        18 43:21,23 45:11                             94:14                 again 11:14 15:1
                        49:17,23 50:23                                                       19:6 20:14 22:10,14
           $                                  4 30:21 32:12,20                               24:22 25:15 28:22
                        51:15,24 52:7,10,12                                     A
                                               39:17,20,21,22,24                             29:22 32:4,10 38:14
                        53:1,7 59:13,19,21
                                               40:15 41:9 43:5
$1 75:24                                                                                     42:20 49:12 50:12,
                       20-page 31:5            44:24 54:4 58:8       ability 9:4             18 52:5,8,24 57:22
$5,000 71:5                                    67:17 84:12,16                                58:11 63:15 67:1
                       2000 10:13              90:20 100:3           absolutely 31:19
                                                                      75:4 80:2              71:1,12 72:13
           0           2003 70:24             41 40:7,12                                     77:14,16 79:3 80:14
                                                                     accompany 60:23         87:14,24 90:9
                       2017 7:3               46 106:20                                      105:12 107:15,16
01906 5:22 13:5                                                      according 75:17
                       2019 34:20 70:23       4:33 108:16
                                                                     accordingly 43:22      against 6:20 11:3
                        71:1,2
                                                                                             23:17 50:3
           1
                       2020 71:23 73:18,                 5           accuracy 85:16
                                                                      87:16,17
                                                                                            agent 86:5,9 106:6
                        21
1 4:3 9:9 37:16,20                                                                           107:6,9
 38:24 67:4,5 89:13    2021 74:3              5 39:19,24 40:17       accurate 42:2 44:4
                                                                      45:18 58:23 59:8
                                                                                            aggravating 19:1,
                                               42:5,24 44:7,10,12,
10 89:5,6 95:16        2022 23:20 24:2                                63:6 87:11 92:5
                                                                                             16
                                               19,22 45:20 46:14
                        27:12 28:21 29:11                             101:6
100 92:5                                       48:20 53:1 54:10                             agree 10:24 41:2
                        33:8 34:12,15 35:5
                                               68:13 69:6 77:23                              42:2 44:3 45:17
10th 95:14 96:19,21     40:9 41:20 43:1                              accurately 45:15
                                               85:20 87:24                                   58:23 59:8 60:15
                        45:14 54:8 58:18
11 41:10,11 82:4                                                     acknowledged            63:11,15 76:7 77:1,
                        60:7 83:22 86:2       56 82:20 92:16
                                                                      43:19                  3


           BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 32 of 40
                                                                                                               113

agreed 4:20 58:7       appoint 71:10          attributed 28:24        28:22 29:23 32:7      briefly 5:23 6:18
                                               51:16                  34:9,15 36:10 38:21
agreement 4:14         appraisal 107:7                                47:4 53:21 60:8
                                                                                            bring 13:10 62:4
 60:10 74:9,14,15,                            attributes 86:24        63:21 64:2 65:19
 20,21 75:1,3,14,20
                       appraisals 107:8                                                     broad 52:10
                                              August 14:11            66:10 75:9 76:19
 76:2 77:1,3           appraisers 86:22                                                     brother 92:17
                                               22:19 55:21,22         77:15 78:13 82:14,
                                                                      23 93:19 98:5          98:20
agrees 39:6            appreciate 10:5         57:20 58:18 60:6
                        11:4 106:7 108:14      62:20 70:8 79:13                             brother's 68:8
ahead 8:20 15:21                                                     begin 81:6
                                               88:6 89:2,3,13,19
 35:14                 approached 33:7                                                      brothers 99:7
                                               91:8,20 92:20 93:8    begins 100:8
                        58:20 81:20            94:3,5,10,13 95:14,
alleging 106:23                                                      begs 24:13             brought 25:4 62:7
                       approaching             18 96:19,21,22
allow 74:15                                    97:24 98:2 99:13,18   behalf 6:3 64:11,20    built 99:5
                        35:19
allowed 17:9                                   101:12,13              78:14 88:18 97:8
                       approved 77:17                                                       bullet 40:16,24
allows 75:21                                  aunt 78:11 88:8        belief 45:8 72:21
                       approximately 7:1                                                    business 6:21
                                               91:10,16
                                                                     believe 12:6 14:8       70:15 73:17
always 8:1 98:24        14:10 33:6 68:9
                                              authenticating          15:8,10 23:4,19
amongst 10:2           April 63:18             92:22                  24:2 27:4 28:12                C
 55:15                                                                29:12 33:19 42:11
                       area 6:4 10:24         authorized 53:2
amounts 84:3            24:12 106:10,17                               48:13,14,18 55:13
                                              available 98:9          67:1 72:23 77:7,23    call 4:20,21 35:10
Anderson 46:3,10       arranged 95:5                                                         46:18,21 47:2,5,23
                                               99:23                  88:12 90:10 105:20
 67:2                                                                                        49:8 64:1 89:15
                                                                      106:19
                       arrangements           Ave 83:1                                       90:4 95:5,11,24
another 26:15           98:7                                         believed 86:1           96:5,8,10,13,16,18,
 36:16 55:9 86:20                             avoid 49:13
                                                                                             20,21,22 104:13
                       arrived 9:8                                   benefit 72:5 74:20
answer 7:21 8:19,                             aware 18:7 26:5,18
                       article 73:15,20,23                                                  called 4:6 19:15
 21 11:18 15:10 19:8                           27:14 28:15,22        between 74:9
                                                                                             35:19 46:19 64:13,
                        74:2,13 75:9,11,17     78:20 101:7            82:21
 32:13,19 33:23                                                                              15 68:18 88:15
 40:15 41:11,12        ascertaining 85:8                             bit 5:4,24 8:23 11:5    100:15
 43:7,12 45:3 48:12                                    B              22:1 24:9 28:20
 49:14 52:6 58:13      ash 48:5 74:16                                                       calling 49:17,24
                                                                      29:18 30:16,24
 59:14 60:15 63:8       75:22 84:3,14 85:21                                                  94:23
                                              back 37:17 39:15,       44:16 59:24 60:21
 79:21 82:9 91:1       assessment 62:18                               62:24 63:20 67:18     calls 29:16 33:15
                                               17 42:20 43:5 44:24
 100:7 101:1,5                                                        76:20 77:22 78:10      47:21
                       assistance 32:23        45:20 49:8 54:4
answering 8:9                                  56:21 57:5 58:8        79:4 80:22 106:5
                                                                                            camera 4:19 6:1
 11:4                  assume 12:11            62:7 63:14 68:6       blank 29:13,14
                                               69:18 76:18 77:23      36:21 39:11 44:11     capacity 27:13
answers 7:14           assuming 25:17                                                        34:7 102:24 103:8
                                               78:16 80:6,14 81:1     46:15 66:21
 31:16 39:18 43:6
                       asterisk 104:7          88:6 90:4 93:23
                                                                                            caption 20:8
 45:1 90:21 100:5                                                    board 34:22 70:17,
                                               95:16 98:5,18 99:21
                       attend 91:22                                   22 71:2 75:18 76:17   car 59:3 62:6,14
Anthony 4:6,13,21                             backwards 45:2
 5:18 12:7,14 13:1,4   attended 10:8                                  77:15                  102:8
 14:21 32:23 35:14                            Ballard 30:13          Bogus 26:7
                       attending 11:10                                                      cars 24:19
 40:18 41:16 43:20
                                              ballpark 7:2 55:21     both 82:21 95:24
 45:9,10 52:18 57:2,   attention 39:19                                                      case 18:9 20:8
 5 58:20 59:2 63:11     104:13                bar 10:16                                      21:1,4 23:3 24:1,12,
                                                                     bottom 20:9 39:21
 68:15 80:10,18                                                                              15,18 25:1,23 26:5,
                       attests 39:7           based 45:7 63:10        41:11 46:5 54:7
 81:12 85:4,12 89:13                                                                         6 27:4,21 29:5 30:1
                                               65:9                   90:24 100:10 104:5,
 91:13 92:17 98:19,    attorney 8:15,18                                                      33:11 34:13,14 41:7
                                                                      7
 20 99:13 105:7         10:2 17:11 55:9       basically 19:15                                42:10 49:1 59:16
                        78:24 79:6,7,17        72:9 95:7             bought 86:7             67:7 72:17,19,22
Anthony's 81:8
                        89:15 91:19 93:7                                                     106:9,16
                                              basis 35:16            box 90:2
anticipating 62:17      94:12 95:6                                                          cases 7:4 72:13
                                              Basketball 85:2        break 8:8,10 13:19
anticipation 18:5      attorneys 52:2                                                        73:8
                                                                      29:18 56:19 69:16,
                        55:4                  batch 23:7              19 70:24              casually 5:24
anyone's 104:13
appear 45:13 91:15     attributable 50:6      Bates 20:10            breaking 78:10         Catinazzo 88:9
                       attribute 27:16                                                       90:10 94:13,15,16,
appearance 5:11                               before 4:19 5:24       Brenda 6:2 20:8
                        28:17                                                                19,23
 6:11                                          6:16 9:8,17 13:6       30:7
                                               20:19 26:2 27:11



          BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 33 of 40
                                                                                                               114

Catinazzo's 96:21       Cogliano's 85:17       continue 74:16          84:5,16 85:23 88:10    18:1 29:24 38:22
                         87:21                  75:22                                         41:18 43:23 46:13
causing 37:9                                                          Coulson 13:3 52:2,      48:10 51:20 52:1,7
                        comment 68:21          continuously 36:9       13 66:10
                                                                                              58:19 59:4 61:12
cell 13:17 89:15
                        commercial 86:15       convenience            counsel 4:7,14          62:12 67:21 70:6
cents 71:4                                      21:23 22:10,21         6:13 8:14 14:6 17:7
                        committee 72:1                                                       declaration 29:13,
certain 8:16                                                           61:3 91:11 94:17
                                               convenient 10:4                                14,17 36:21 37:12,
                        community 33:20,                              couple 15:2 29:20       21,24 38:7 39:7,11
certainly 8:8 49:13      24 74:9 75:20         conversation 7:15
 50:8                                                                  42:6 43:14 62:13       44:12 45:24 46:16,
                                                19:17,20 24:24 25:3                           22 48:8,19 49:2,11
                        company 72:6                                   104:19 105:6
chairman 71:2                                   27:11 28:14,21                                53:3 54:21,24
                         74:10 75:21 76:1
                                                29:11 48:24 50:7,10   course 20:16 32:21      64:10,19 65:18
chance 20:2 31:17       compared 86:6           65:24 78:11 90:18
                                                                      court 4:15,24 5:21      66:1,19 67:3,11,22
 40:1 75:7
                                               conversations           7:12,16 50:15          68:16,20 69:1,11,20
                        complain 27:22
chaperone 62:2           28:6                   16:10 17:11 97:12,     101:23                 78:13 79:9,12,20
                                                15                                            80:1 81:8,13 87:11,
Charlie 75:14           complained 28:4                               cover 7:8 104:21        18,21 92:7,24 93:3
choose 46:18                                   convey 52:6                                    94:6 96:22 98:19
                        complaining 27:15                             covered 104:20
                                                                                              99:14
civil 49:18 50:1                               Cooper 19:15
                        complains 28:5          70:10
                                                                      covering 52:9
                                                                                             declarations
claim 27:4 73:5         complaints 28:2,3,                            Craig 18:19,23,24       13:16 14:1,14,18
 106:8                                         copy 20:18 25:17,
                         16,23                                         19:13 70:10            15:24 16:15,19
                                                21,22 36:21 46:15
claiming 6:4                                                                                  18:3,9 20:24 21:4,
                        completed 41:17         69:13                 crazy 106:21
 106:16 107:3                                                                                 14,18 22:2,3,7,12,
                         53:11 87:20 88:1      corner 20:10                                   14,18,23 23:2,8,9,
                                                                      current 106:24
claims 24:12 26:4        105:18                                                               11 25:5 30:4 35:20,
 27:20 37:8                                    correct 6:14 7:16      currently 70:3,12       22 36:6,11,17 40:7,
                        concern 52:19           10:16 13:22,23 16:4
                         101:4                                                                12,19 41:6,19 42:9,
clarification                                   21:1,5,18,20,21
                                                                               D              15,24 43:21,24
 108:10                                         22:19 23:23 28:17
                        concerning 87:20                                                      44:8,19,22 45:9,12,
                                                29:13 33:16 34:16,
clarify 8:1 51:4                                                                              13,22 50:20,21
                        concerns 101:4          17 35:4,20 36:17      daily 7:15
 80:21 97:5 105:8                                                                             52:10,16,22,24
                                                38:17 39:8 40:9
                        concluded 108:16                              damages 11:17           53:8,10,17 54:6,7,9
clarity 21:23 22:11,                            41:7,24 42:17 43:2                            55:12,14,16,18
 21 25:19 76:5          condition 92:9          44:8,19 46:6,10       data 29:4               56:16 57:17,24
                                                47:13 49:21,22
Clark 18:20             confer 66:9                                                           58:17 59:5,14 60:5,
                                                50:10 52:7,14,17      date 10:3 44:21
                                                                                              12,13 61:13,15
                                                53:8,22 54:15,21       45:21,22 46:9 49:8
class 6:2 10:18         confirm 101:19                                                        62:19 63:16,23 64:6
                                                59:22,23 60:13,19      54:18 55:20 57:18
 11:2,9,13,15,17,21,                                                                          66:13,21 67:8,19
 22 27:9 47:6,10
                        confirmed 41:17         61:13 62:21,22         58:19 65:3 67:11
                                                                                              78:1,3 81:23 83:8
                                                64:21 65:4,11,19       72:20 81:17 95:12
 51:8                   Conley 24:5 36:14                                                     85:9,17 87:23 92:21
                                                66:5,7 67:5,6,8,23,    99:13,16
                                                                                              93:24 96:2,14,24
classes 10:9 11:10      connection 34:1         24 68:5 69:12,22      dated 43:1 46:5         97:9,16,24 100:20,
                         42:10 59:16            70:17,22 71:17,20
clause 76:1                                                            58:19 63:12,16,17      21 101:16,17,24
                                                73:11,12,20,21         65:3 73:18,21 75:14
                        consistent 56:17                                                      102:2 105:14,19,24
clear 7:18 17:9,17                              74:22 75:15 76:9                              107:18,22 108:11
 46:12 64:14 66:16      constant 35:16          77:2,6 78:14 79:15    dates 44:21 45:12
                                                82:6 83:6,11 88:2      60:16,17              declare 38:1,15
close 25:11 26:15,      construction            92:4 93:3,10,13
 16 27:23 83:11          70:15                                        day 14:22 39:11        defendant 5:15
                                                94:2,4 97:10,13,19,
                                                                       64:24 65:5,7,11
closure 72:12           contact 52:1,13         22 98:10,11,12                               defining 29:8
                                                                       82:6,11 90:3
                         63:21 88:19 91:11      99:10 100:17,18,22,
co-chair 71:16,19                               23 101:20 102:8,9,    days 15:2              definitely 77:3
coerce 102:15           contacted 55:17,        11,12 103:3,22
                                                                      deal 76:17 77:11       depending 49:14
                         23                     105:15,17,19
Cogliano 4:6,13,18                              106:22 107:2,16,19    December 92:20         deposed 6:16,19,
 5:18,19 13:4 21:11
                        contacting 90:8
                                                108:9                                         20 18:17,18 19:13
 32:23 40:18 41:16      contained 44:12,                              decided 47:4            70:10 92:20
 43:20 45:9,10 58:20     19 48:19 49:11 54:9   correcting 74:5
 59:2 78:3,6,24 79:6,
                                                                      decision 32:22         deposition 4:3,13
                         60:13 62:19 70:6      correctly 20:12         60:22 76:19            7:2 9:9,24 16:8,20
 8,12 81:11 85:20                               33:1 38:2,18 40:21
                        contents 37:13                                                        17:19,22,24 18:5,
 88:9 89:11 91:10,                              41:2,21 44:1 58:21    declarant 48:20
                                                                                              11,14,22 30:21
 11,13                  contingency 76:1        59:6 74:11 76:3       declarants 15:18        78:17 81:9 85:7



             BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 34 of 40
                                                                                                                115

 89:6 91:22 108:16     dollar 77:6            entirety 100:9          19                      66:22

depositions 18:8       dollars 72:7 76:24     entitled 31:3 73:16    expecting 76:23         filled 44:11 48:19
 88:5,16 89:22 91:7                            75:13 81:13                                    49:2 66:19 67:3,4,
                       double-check                                  experience 103:14        11 68:20 78:3 83:7,
details 75:24           42:12                 especially 5:4          106:6 107:5,9
                                                                                              9 105:14
determine 87:15        Doug 18:20             established 6:13       experienced             final 32:18
                                               35:10                  51:11,16
developed 56:8         drive 58:2                                                            financially 74:21
                                              establishing 87:17     explaining 77:11
developing 74:9        driver's 4:9                                                          find 13:17 15:14
                                              estate 70:16 86:5,8,   extent 81:3              25:10 50:4 69:15
differences 67:20      driving 49:1 64:24      16 106:6 107:6,9
                                                                     external 107:10          78:4 95:7
different 10:3         drove 56:14 59:1       evening 75:19
 28:20 39:12 44:16                                                   extremely 76:16         Fine 56:24
 47:23 48:10 52:10
                       due 91:22              event 85:19 87:19                              finish 8:9
 66:17,18 67:18        duly 4:9                88:11 96:12
                                                                                 F
 99:11                                                                                       finished 65:7
                       dump 74:16             events 34:1 101:4
differentiates                                                       facility 24:20 25:11,   firm 88:4
 86:20                 duplex 99:6            everyone's 79:22
                                                                      12 27:16,22 28:3,7,    firm's 13:2
difficulty 8:23        dust 6:6 28:24         exact 36:5              10,11,13,17 30:10
 92:21                  51:16 73:10 84:3,13                           46:19 68:10 69:24      flip 43:4 101:17
                                              exactly 14:15,16
                        85:21 103:24                                  70:3 106:24
direct 39:19 88:24                             69:3 76:21                                    flipping 31:14
                       duties 71:8            exam 10:16             facility's 106:12       Florida 93:19 94:9,
direction 47:14
                                                                     fact 8:7 15:3 35:18      10
 107:22                                       examination 4:7,
                                  E                                   44:18 77:1 78:20
directly 57:14                                 17 80:20 87:20                                follow 86:16
                                               105:10                factor 107:1,11
disagree 33:3          earlier 35:3 58:12                                                    follow-up 96:20,22
 101:2                  81:20 90:22 94:18     examined 4:10          facts 39:7 76:19        follow-ups 105:7
                        96:5 101:9 105:11,    example 46:2
disagreed 104:2                                                      fading 30:15            following 41:19
                        21                     69:17 100:15
disclosures 40:9                                                     fair 16:18 26:1 65:9,   follows 4:10
                       early 89:19            except 40:23            17,22 66:1 74:19
 79:13
                       easier 20:22 23:15     exchange 15:7           86:23                  foregoing 38:16
discovery 20:7,17
                       effect 102:22           22:15 74:16 75:22     fall 91:14,17           forget 89:2
 31:10 85:7

discuss 17:19,22,      elicit 85:16           exchanged 14:5         Fama 5:17 11:18         forgive 36:4 85:4
                                               15:17,23               16:10,11 43:10 57:9
 24 37:13 38:4,20                                                                            form 81:24 82:5
                       else's 23:2                                    68:13 91:2 101:15
 66:3,8                                       Excuse 79:20                                    83:5 103:11 104:3,5
                       email 14:9,12,15                               105:4
discussed 35:17                               executed 81:17                                 formed 71:22,23
                        15:3,6 36:23 37:1                            familiarize 9:14
 37:20 97:17
                        89:1                  Exhibit 4:3 9:9         31:20                  forward 60:11
discussing 37:15                               12:9,20 16:4 20:1
                       emailed 15:11                                 family 99:3             foundation 21:8
                                               25:14,15,21 30:21
discussion 60:2                                                                               27:8 37:7
                       emails 14:5 15:2,       37:17,22 38:15        favor 74:24 75:3
discussions 21:16       18,23 89:9             39:15,17 41:9 42:5,    102:17                 fourth 40:24 58:15
                                               24 43:5 44:7,10,12,                            88:11
dispute 24:12          emanating 73:6                                federal 50:15
                                               19,22,24 45:20
 40:11                                                                                       frame 88:6
                       employed 70:12          46:13 48:19 53:1      feel 12:13 103:4
dive 56:15                                     54:4,10 58:8 59:11
                       end 9:1                                       Fernandez 18:19         free 12:13 75:23
                                               60:3,13 62:19 66:14
document 9:17,22                               67:3,17 68:13 69:4,    68:7,16,24             Friday 16:17 95:18
                       ends 100:9
 12:15 13:6 20:18                              6,8 70:7 73:13 75:5
 25:17 30:22 31:5,8    engage 84:23                                  Fernandez's 68:2        front 57:3,10 81:11
                                               77:23 79:14 81:7,9,
 32:7 50:14,24 51:7,                                                                          100:3 101:13 104:6
                       enjoy 84:12             12,15 82:3 87:24      figure 10:3 74:17
 21 104:9                                      89:5,6 90:20 95:16
                                                                     figures 76:19           froze 26:20,22,23
documentation          enjoyment 6:5           97:23 98:18 100:3                              48:15
 16:3                                          101:12,14,16          file 11:2
                       entailed 6:18                                                         frustrated 72:2
                                               103:11
documents 13:10,       entered 43:20                                 filed 6:3 23:22
                                              exhibits 57:10          72:18
                                                                                             full 5:8 89:12 90:3
 24 18:4 20:17 56:4
 60:8 63:10 81:2       entering 41:18
                                              expectation 77:5,      fill 46:21,22 48:8
                        74:21


          BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 35 of 40
                                                                                                              116

                      hearing 8:24           important 5:3 7:11     interest 21:24          45:14 53:21,24
          G                                                                                 54:1,2,3,8,10,14,15
                      held 34:3              in-house 95:6          interested 17:10        57:19 82:2 88:6
garner 49:17 85:10    hinted 63:20           included 47:5,10       interfered 6:5          89:3 91:7 93:19,24

gave 53:15 60:16      hitting 29:19          including 40:19        internal 107:1         jump 77:22
 105:15,18,23                                 41:17 88:7
                      home 5:20 13:8                                Interrogatories        jumping 60:21
general 23:1           50:5 51:17 64:2       increased 106:11,       31:5
                                                                                           June 23:19 24:2
                       83:14,18 91:22 92:4    17,20
generally 10:21                                                     interrogatory           27:12 28:14,21
                       99:11
 64:4 74:24 75:3                             independent             32:13,19 39:18,22,     29:11,14 33:8,9
                      homes 86:17             95:10                  23 41:12 43:5,12       34:12,15 35:5 42:15
generically 11:6       106:12                                        45:1,4 54:5 58:13      43:1 54:1 81:23
                                             indicate 25:8 56:11     90:21 91:1 100:5,8,    82:1,2,4 83:22 84:8,
gentlemen 80:12       honestly 89:3 96:9      58:5 103:23
                                                                     14 101:1,6             19 86:2 93:24
girlfriend 68:8       hope 78:22             indicated 45:10        interrupted 85:12
give 7:14 9:5 12:14   hopefully 4:22 5:6     indicates 40:6                                            K
 31:24 47:1 76:18                                                   interrupting 85:5
                       20:21 23:14 32:10
                       80:6
                                             indicating 55:5        introduced 4:18        Keeping 41:9
giving 24:20
                                             individual 65:14        5:23 34:19             44:24
global 49:14          hoping 77:21
 101:10                                      individually 49:12     introduction 88:19     kids 85:3
                      horrible 76:16
go-round 77:7 93:5                           individuals 18:21      investigation          kind 11:5 29:9 39:9
                      host 74:9,14,15,19,                            32:21                  47:19 62:23 95:16
                                              19:23 27:18 36:16
good 4:18 11:7         24 75:3,20 77:1,3
                                              41:23 51:15 66:3,8
 23:14 108:10                                                       involve 14:3           knew 24:11 29:15
                      hot 94:10               67:17 101:11
                                                                                            33:14
Goodwin 5:14                                                        involved 33:24
                      hour 71:4              inform 52:11            73:5,9 101:5          knowing 17:10
graciously 4:20       hours 19:1             information 14:19                              28:22
                                                                    involvement 23:4
graduate 10:14                                44:9 45:7 49:11
                      house 56:14 58:3                                                     knowledge 35:1
                                              68:19 76:13,14        issue 25:12 26:17       96:18,24
grant 71:10            59:2 62:4 92:14
                                              100:13                 37:10 78:21 97:2,
                       99:3,4 102:11
                                                                     15,16 100:17
Great 7:21 9:7                               informed 10:1
                      hundreds 72:7                                                                    L
 20:14 32:3 40:3                              50:23 57:15,22        issues 7:4 50:5
 42:19 44:16          hurt 48:6               64:17 105:22           77:18
                                                                                           lag 5:5
ground 7:8                                   informs 8:18           Itemlive.com.
                                I                                    75:12                 landfill 72:12 74:16
guess 79:19                                  initial 22:12 23:8                             75:22
                                              40:7,19 41:19 42:15   items 37:16,20
guys 11:19            i.e. 93:19                                                           larceny 6:20
                                              43:21,23 45:8,12,13
                                              47:20 50:19,21                               late 88:6
                      idea 23:22 38:8                                        J
          H                                   52:16,22,24 53:10
                       47:9 62:15 77:13
                                              54:6,7 55:14 64:10                           Laura 4:21 5:10
                       107:3
                                              65:24 66:1,15 67:21   Jack 15:23 17:22        12:19 15:9 31:13
hand 37:3 79:14
                      identification 4:4      77:24 78:13 79:8       24:5 33:19 36:14,22    40:24 42:14 48:15
 98:4,5,18
                       81:10 89:7             87:23 93:24 105:18     53:12 54:15 56:1,2,    52:16 59:20 81:7
handing 37:17                                 108:11                 11 57:22 58:2 59:1     89:8 104:23
                      identified 4:8                                 65:1 81:21,22
handy 43:4             45:23 55:11 73:20     initially 98:9,14       105:19 106:3
                                                                                           law 10:8,12 11:10
                                                                                            12:1
happened 73:2         identify 5:20 12:19    injuries 91:14,17      January 75:15
                       30:23                                         77:21
                                                                                           lawsuit 14:3 23:17
happy 8:2                                    Innovations 75:21                              24:8 26:3 28:23
                      ignore 14:23            76:7                  Jim 24:5 36:14          35:6,17 49:18 50:3
harangued 36:6
                      illegible 62:24        installed 26:13                                51:8 52:3 72:2,3
health 91:23 92:3,9                                                 job 56:18 76:16
                      imagine 61:3 72:24     instructed 108:6        77:11                 lawsuits 73:4
hear 8:16 9:2 11:19
 14:21 24:1 44:14     impact 51:21           instruction 47:1       John 18:19 19:15       lawyer 10:6 29:24
 78:21 79:2 82:8       107:11                 107:21 108:8           69:21 70:10 88:12,     34:24
 93:14                                                               13 93:7 98:11
                      impacts 107:1          instructs 8:18                                lawyers 52:13
heard 4:24 24:24                                                    July 22:8 25:22
                      impair 9:4             intended 42:23          29:14,17 40:9,13
                                                                                           leaf 42:20 43:15
 86:22 87:3
                                                                     41:7,20 42:16 43:1


             BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 36 of 40
                                                                                                             117

learned 23:16 26:3     loved 94:9            memory 81:1 82:4      named 18:22 45:11      Nuzzo's 92:23
 27:3 32:21 33:10                                                   102:1                  99:13
                       lump- 75:23           mentions 76:6
learning 35:6 88:7,                                                names 41:18 43:21
 14
                                             message 95:17          53:2 88:2                      O
                                   M
leave 91:21 92:3,14                          messages 13:15,       Nato 24:6 36:14
                                              20,21                                       O'FRIEL 55:8 95:7
legal 12:2 51:21       made 8:20 26:4                              needed 49:8 56:9        96:1,20 97:13,18
                        27:5,20 29:15 30:3   met 34:11,15,23        58:2
lengthier 30:22         32:22 33:15 47:20                                                 oath 101:20
                                             Michael 55:8 95:6     negative 86:24
                        71:19 78:20 98:6
Leo 5:17 14:22                                96:20
                                                                    87:5                  obese 92:11,12
 105:2                 mail 90:2             Michelle 24:6         negatively 107:1,      object 12:3
letter 13:2,14 16:4    make 5:11 7:17 8:1     36:14
                                                                    11
                        14:24 17:16 20:22
                                                                                          objection 8:19
letterhead 13:2                              Michigan 70:20        neighbor 19:18          11:23 12:4 21:6
                        21:24 23:15 24:23
                                                                    106:18                 26:8 27:6 28:18
letting 31:20           30:24 35:22 42:13,   mike 79:4 96:7
                                                                                           29:2,8 33:22 34:5
                        19,22 47:18 52:9
license 4:9 70:16                            mile 68:11 82:18,22   neighborhood            35:8 36:1,18 37:7
                        57:9,13 58:6 64:14
                                                                    27:14 82:16 83:9,11    39:3 47:7,11 48:11
licensed 10:6 86:5,     66:15 71:4 101:14    million 75:24 76:24    86:12,14,17 87:4       49:19 50:16 52:15
 8                      105:7 106:19          77:5                  103:2                  53:4,23 55:19 61:22
licenses 71:10         making 15:4 76:19     mind 56:8,20          neighborhoods           62:1 64:22 65:20
                                                                                           66:6 67:14 85:5,15,
Liddle 13:3 52:2,13    manager 71:10         minute 26:22           73:7
                                                                                           19 87:8 97:11 106:2
 66:9                                         41:10,13 43:7 45:3   nephew 78:7,8
                       Manoogian 28:5                                                     objections 8:16
                                              48:16 58:11 65:16     91:12
life 19:2 24:21 26:9   Marchese 18:18         66:2                                         31:4 40:6 87:15
 48:6 83:2 99:9                                                    news 75:11
                       mark 81:7 89:4        minutes 9:14 42:6                            observe 59:3 61:16
limited 85:8 87:13                            43:14 56:21 59:17    newspaper 73:15
                       marked 9:9 12:8                                                    observed 61:11
list 67:17,18                                 75:6 80:4 104:19
                        16:4 25:14 30:21                           noise 24:19 28:5
                                                                                          obtain 60:23 63:22
listed 37:16 86:11,     42:5 59:10 73:13     missing 69:10         normal 7:15             64:16 65:1 92:7
 13,15                  75:5 81:10,12 89:7
                                             mobility 92:15        Nos 4:3                obtained 21:3
lists 41:23            market 86:23                                                        60:18 66:20 100:21
                                             moment 25:13          note 85:6
litigation 50:1 66:5   mass 5:22 10:12        104:19                                       102:4
 72:7,10                107:6                                      noted 60:4 85:15,      obtaining 35:19
                                             Monday 89:13           19 87:15
live 27:23 68:9        Massachusetts                                                       56:12 70:7 85:8
                        4:9 13:5
                                             monetary 74:17        notes 47:19 49:4,7
 82:16,23 98:22,24                                                                        obviously 31:9,15
                                             month 36:10 93:19      80:6
lived 25:11 26:9       matter 36:10                                                        54:13 56:15 61:8
 46:19 82:19,20                              monthly 13:17         notice 4:14 83:17       67:21 82:15 93:9
                       matters 6:21                                 84:2                   100:19
 83:1,3 99:9
                       Mckenna 75:14         months 80:24
lives 30:9,10,12,13                                                noticed 89:23 91:6,    occasion 25:20
                       means 38:5 39:6,12    moots 29:9             7
living 82:23                                                                              occurred 90:18
                        70:19,21 74:13       morbidly 92:12        Notwithstanding        odd 62:2
Liz 18:18              meant 38:21                                  12:1
                                             morning 96:11
location 99:1                                                                             odors 6:6 24:19
                       medical 78:21         motion 69:14          November 71:15          27:15 28:16 48:4
long 34:3 56:23                                                     73:18,21 74:3
                       medications 9:3                                                     51:12 73:6 83:17
 82:19 86:8 92:15
                                             move 50:20 61:5,7
                                                                   noxious 83:17           84:13 85:21 103:14,
                                              69:18 82:14 87:22
                       meet 6:10 35:15                                                     24
longer 94:7             77:14                                      number 89:15
                                             moved 82:20
                                                                    94:22                 Oetheimer 5:10,
looked 58:12 59:15     meeting 33:9 34:12     93:18,21,22 94:3
                                                                                           13,14 6:10 9:11
 107:10                                                            numbers 89:21
                        35:5,9,10,13 66:2    mute 95:20 96:6                               11:23 12:10,18,23
lose 72:3               77:16                                       90:6                   14:6 15:7,9,16
                                             mutually 10:4                                 17:20 21:6,8 26:8
losing 72:8            member 11:13,15,                            numerous 84:12
                                                                                           27:1,6,8 28:18 29:2,
                        17,22
lost 72:22,23,24                                       N           Nuzzo 88:10 91:21       7 31:13,22 33:22
                       members 74:8                                 92:3,6,15,19 98:20     34:5 35:8 36:1,18
lot 23:15 57:7 72:9                                                 99:20                  37:7,17 39:3 40:23
 99:5,6                memorializing         nagged 35:21
                                                                                           42:14 43:9 47:7,11
                        49:4


            BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 37 of 40
                                                                                                            118

 48:11 49:19 50:16     parts 44:11            phones 13:17          presented 74:17        pull 9:10
 52:15 53:4,23 55:5,
 19 59:19,22 61:5,7,
                       passes 77:4            physical 36:20        presenting 76:16       pun 42:23
                                               99:11
 22 62:1 63:3,8        passing 77:10                                pressure 102:15        purposes 4:15
 64:22 65:20 66:6                             physically 59:4                               22:10,21 25:19 76:5
 67:14 69:10,13        past 6:21 39:9          61:12,16 101:24
                                                                    presume 6:9 7:22
 79:14 80:17,20 81:6                                                                       pursuant 4:14
                       payment 75:24          pickle 102:21         presuming 105:2         37:24
 82:14 85:14,20
 87:14,23 89:4,8,14,   penalty 38:16          piece 26:15           pretty 11:7 48:7       put 6:11 9:12 39:15
 18 91:20 93:7 94:13    50:24                                        80:5 86:18
                                                                                            50:14 71:11 85:5
 97:7 104:18,23                               pile 12:11                                    89:16
                       pending 49:24 50:3                           previous 25:23
 106:2 108:15
                        66:5 75:24 76:12      places 62:5                                  putative 6:2 11:12,
                                                                    previously 9:8
offer 17:17                                                                                 15,21
                       people 10:23 14:19     plaintiff 4:7 29:5
                        18:7 19:13 21:3,13     31:4,10 88:4
                                                                    prior 28:14,20
offered 14:19
                                                                     34:12 41:7 54:15
                        24:19 25:5,10
offering 75:23                                plaintiff's 47:6       97:15                          Q
                        27:15,21,23 28:6,
office 70:23            16,22 29:16 30:3      plan 31:19            probably 36:2 50:2
                        33:14 36:2,9 46:13,                          58:11 82:6,10 99:4
                                                                                           quality 24:20 48:6
official 103:5,7        19,21 47:16 49:7,     plant 72:12 82:17
                                               83:11 87:4           problem 11:1           quality-of-life 50:5
                        17,23 50:2,9,13,23
operating 75:22                                                      26:10,14 77:10
                        51:6 52:12 53:1,7     played 85:2                                  question 7:21 8:2,
opportunity 6:10        55:1,10 56:9 57:8                            85:13 102:21           9,17,19 17:5 24:13
 12:16 31:12 32:6       58:7 60:18 61:18,24   plenty 31:24          problems 28:10          27:2 28:20 39:21
                        62:6,13 63:21 64:9,                                                 41:10 43:7 44:6
opposition 37:8                               point 6:9 7:24 8:7,    48:4 72:12 103:23
                        13,15,16,17 65:10                                                   45:3 48:17 49:14
                                               13 22:6 25:18 30:2
Opt 75:13               66:17,18 68:18 70:9                         process 4:23 22:1       51:4 54:13 58:12
                                               33:13 36:16 40:16,
                        88:5,14,20 89:22                             30:18 32:11 73:24      62:16 106:13
opted 75:19                                    24 81:24 82:1 85:7
                        91:6 92:19 98:7,8                            74:7                   108:10
                                               88:4,8 89:1 92:6
order 12:11 71:19       99:21 100:1 102:6,
                                               96:4 99:3 107:21     Procter 5:15           questions 12:2
                        7,10 103:10 104:9
                                                                                            29:20 48:7 52:3
original 51:24          106:12 107:17         pointed 32:4          produce 15:5            80:4,11,18 85:15
                        108:7                                        79:11,18
originally 68:3,4                             policymakers                                  87:16 101:10
                       people's 56:13          71:9                 produced 21:1           103:10,12 105:3,5
outdoor 84:14,23
                        88:2                                         22:4,7,18 23:3 29:4
                                              pool 26:13 85:1                              quick 56:19
outreach 32:23                                                       31:9 40:12 42:9
                       percent 92:5
 33:20,21                                     poor 24:20 77:11       59:15 60:6 89:9       quicker 22:1
                       Perfect 57:5            91:22 92:3
overlap 69:17                                                       production 25:17       quickly 4:23 5:6
                       period 13:18           portion 38:9 40:3                             8:6
                                                                    properties 86:11,
         P             perjury 38:16 51:1     pose 8:10,16           14 87:3               quote 40:17 42:15
                                                                                            43:18 58:15 59:1
                       permission 53:6        position 34:4 71:3,   property 6:5 26:15,
p.m. 108:16             64:6 78:12             7                     16 28:24 48:5 51:12
pages 31:6 41:12                                                     84:4,13,24 85:11,22            R
                       person 35:13 37:3      positive 86:23         86:3,6,24 106:10,16
paid 71:3               39:6 45:23 48:10                             107:2,11
                        51:11,23 53:6,13      possession 14:2                              raised 74:8
paragraph 32:17,        63:22 65:19 67:2      possibility 74:8      proposed 11:22         ran 70:23 71:1
 18 37:23 40:4 43:18                                                 47:6,10
 45:6 54:6 58:15       personal 34:1          possible 4:23 5:7                            re-insert 76:2
 73:23 74:6 75:18       43:24 64:18 65:1       8:7                  provide 8:21 12:5
 76:6 84:2,12,16        87:21 102:24                                 104:15                reached 35:23
 85:20 91:9,19 93:6
                                              potential 74:14
                       personally 34:9                              provided 20:6,15       reaching 89:18
 94:12                                        power 78:23 79:6,      40:18 41:6 45:9
                        46:20 55:11,16 56:9                                                read 12:15 18:11,14
                        64:16 101:24 102:4     7,17                  54:10 67:19 85:10
Pardon 61:6                                                                                 31:18 32:12 33:1
                                                                     90:6
part 25:16 27:20       Peter 28:4             prefer 56:19                                  38:2,18 39:22 40:21
                                                                    providing 89:21         41:2,10,21 43:7
 32:20 40:17 45:6                             premarked 4:4
                       phone 13:13 19:17,                                                   44:1 45:3,15 58:21
 73:24 74:7 79:12                                                   provision 39:2
                        19 29:16 33:15        prepare 16:8 47:18                            59:6 74:11 76:3
 82:9 86:20,21          35:10 47:20,23                                                      84:5,16 85:23 89:12
                                                                    proximity 27:23
particular 25:20        48:9,21 51:24 65:24   present 8:15 14:7                             99:16 100:4,7,11
                                                                     87:6 106:12,24
 31:16 34:13 35:24      68:19 78:12            71:7                                         103:11
 39:10                                                              Published 74:3


            BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 38 of 40
                                                                                                             119

reader 32:5             reflect 4:12          responded 105:24      Saugus-009630          short 89:11
                                                                     20:11
reading 31:15           refresh 16:14 81:3    response 20:7                                shortly 95:4
                         82:3                  31:10 39:23 41:15    scheduled 91:8
reads 84:12 85:21                              42:2 44:3 45:17
                                                                                           show 13:21 42:4
                        regard 47:14           58:23 59:8 61:10
                                                                    school 10:8,12          62:19 66:16,19,21
real 70:15 86:5,8,16                                                 11:10 12:1
 106:6 107:5,9          regarding 6:21         95:2                                        showed 17:6 66:23
                         13:15 15:24 17:5
                                              Responses 31:4        scope 85:6,18 87:9,
reason 40:11 99:24       36:9 76:1 108:10                            13,18
                                                                                           showing 63:21
                                                                                            64:2
reasons 98:13                                 result 106:11,17
                        related 78:6                                script 47:18
                                              retrieved 75:12                              shown 92:21
recall 24:23 38:8       relates 50:21                               scrubbers 26:13
 39:1 68:16,17 80:23
                         100:24               Revere 100:21                                side 98:22 99:7
 88:7,14,22 89:18,21                                                search 13:22 16:2
 90:4,8,16 94:22        relation 68:9         review 16:19 18:4                            sign 14:19 44:18
 95:4,24 96:13 98:6,                           63:10
                                                                    section 67:4            53:2,7 56:6,9 58:7,
 13,16 102:23 106:1
                        remaining 40:18                                                     20 59:4 62:6 65:11
                                              revised 75:14,20      seek 88:19 92:6         69:1 78:12 94:19
receive 13:8 15:3       remember 7:7                                                        98:11 102:6,13,15,
                         14:12 16:22 24:9     Richard 5:14 14:5,    seeking 11:17
                                                                     85:16                  17,19,21 104:16
received 25:18,21,       25:7 36:5,12,20       22 15:1 32:4 42:21
                                                                                            108:7
 22 37:6,12 38:7         37:15 53:19 55:23     60:4 69:16 87:8      selectman 70:23
                         64:24 65:5,7 96:9     88:10 89:14 91:20                           signature 19:7,9,
recently 18:8                                  92:2 93:2 94:13      Selectmen 34:22         10 43:24 56:4 60:18
                        remembering            97:5 106:5            70:17,22 75:13,19      62:3 64:5,7,18
recess 57:1 80:9         88:10                                       77:15                  65:15,19 66:24
 104:22
                                              Richard's 98:20                               68:3,22 69:2 79:22
                        repeat 36:24                                send 14:9
recognizing 92:22        106:13               right-hand 20:10                              81:15 92:22,23 93:4
recollection 16:14                                                  sense 8:1               98:15 100:16
                        rephrase 108:5        rights 51:21 66:4,
 33:6 35:7 46:8                                                     sent 13:3 15:1,14      signatures 17:6
                                               10
 48:23 49:16 50:18      reporter 5:1,21                                                     43:22 44:9 47:15
 51:6,10,14 54:17        7:13,16              Robert 48:16 60:1     sentence 32:18
                                                                                            56:3,13 58:6 60:23
 57:19 62:11 67:10                             88:9 94:15,16        September 13:4          63:22 64:16 65:1
 68:1,24 95:10,11,21
                        represent 6:2 13:1
                         20:5,14 31:2 42:8    rolled 30:17                                  66:20 70:7 97:2,9
 96:4 97:1 99:20                                                    Serino 5:22 13:4        102:4
                         59:13 73:15                                 18:19,23 19:14,19
record 4:12 5:9,11                            room 6:10 14:7
                        representative                               70:10 82:23 83:3,15   signed 14:18 40:20
 6:11 7:18 8:20                               Rule 40:8                                     43:20 53:16,24
                         24:3 27:13                                 served 40:7 41:19
 11:24 12:3,20 15:1,                                                                        54:21,24 55:11,16
 4 17:9 20:5 30:23      representatives       rules 4:15 7:8         45:14 54:8 58:17       61:16 62:7,20 63:7
 31:2 42:8 57:5 60:1,    34:23 35:15 36:8     running 34:22                                 64:11,20 67:21
                                                                    set 9:16 12:19,24
 2,4 64:14 75:11                                                                            78:14 79:8 80:1
                        represented 6:13                             14:17 22:17 23:11
 76:5 85:6 89:16                              Russo 69:21 98:11                             83:21 84:7,18 86:1
                         8:14                                        31:4 32:2,14,15
 97:5 101:22                                   103:18,19,23
                                                                     40:2 41:14 43:16       88:2 90:9,13 94:18,
redundant 29:21         representing 5:15,                           73:19 75:8 105:12,     24 95:3,8 96:17
                         17                            S             13 108:6               97:16 98:1 101:14,
reelected 71:1                                                                              24 102:20 103:13
                        request 14:24 20:7                          sheets 4:12,17 5:12     104:9 105:23
reelection 71:11         32:22                Sara 78:3,24 79:6,7    9:12 12:12,21 13:3     107:23
                                               88:9 91:10,11         14:24 15:12,17
refer 9:7 22:2,11,22    requested 16:3
                                                                     21:10 29:4 31:19,23   significant 86:18
 31:17 90:20,23                               Saroufim 88:12,13
 98:4,19                requests 13:14         93:7,10,17            35:12 37:19 41:1      signing 41:18
                         31:11                                       42:17 43:11 48:15      50:24 51:20 61:12
reference 23:8                                sat 7:1 18:8           52:2,13,17 57:2,12
                        resident 21:14 25:4                                                 66:4,11 103:16
 89:10                                                               59:21,23 60:3 61:6,
                         27:14 82:15 83:10    satisfactorily 4:8
                                                                     10 63:5 66:10 68:14   similar 51:3
referenced 7:5           103:2
 59:14 72:9 94:17                             Saugus 5:16,22         69:12,15 79:15
                                                                                           Similarly 51:14
                        residents 6:4 21:4     13:5 20:9 32:24       80:10 82:8,12 85:4
referencing 72:14        43:22 45:11 58:17     34:2 36:3 40:19       87:8 88:24 90:22      single 72:3
 73:5                    83:8 100:21 102:1     43:21,23 45:11        93:2 97:4,11 98:1
                                               47:16 58:17 71:9      100:4,16 101:9        sir 10:6
referred 90:22          resisted 103:16                              105:1,6,10 108:9
                                               72:6,15 74:18,20                            sit 50:8
referring 35:9 38:9     resolved 7:5           75:13 86:20 87:3
                                                                    Sheets' 88:4           sitting 6:23 10:18
 63:4 72:11
                        respect 45:8 58:16    Saugus's 31:3                                 11:12 38:11 41:5
                                                                    Shift 79:4
refers 91:9 95:22        101:11                                                             47:9 48:14,18 49:15



          BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 39 of 40
                                                                                                              120

 50:12,22 51:5,19      start 5:13 27:1        sum 75:24              telephone 45:11        timing 46:12
 52:23 64:8 68:15,23    39:20 77:17                                   89:21 90:6 94:22
 73:1 78:23 79:24
                                              summer 78:17                                  tipping 75:23
 80:12
                       started 30:16 64:24     94:18                 television 11:11
                        65:5 72:1
                                                                                            today 4:21 5:2 6:1,
situated 57:7                                 superfluous 87:12      telling 49:16 51:6      14,23 7:11 8:14 9:2,
                       Starting 91:4                                                         4 10:5,18 12:15
slowly 30:19                                  supplement 67:23       ten 56:20 71:4          13:11,16,21 14:2,7
                       starts 100:9                                   86:10
                                                                                             15:20 16:8,16,20
smoother 22:1                                 supplemental
                       state 5:8 42:7          22:23 23:11 40:8      tense 39:9              20:5,19,23 22:2,12,
so-called 97:23         106:24                 56:16,22 57:16,23                             22 38:11 39:12 41:5
                                               58:16 59:5,13 60:5,
                                                                     term 79:21              44:11,17 45:21 47:9
sold 86:11             stated 42:21 93:17,     11 61:12 63:23                                48:14,18 49:15
                        18 98:13
                                                                     terms 11:8 76:21
soliciting 83:8                                66:13 67:19 69:20                             50:8,12,22 51:5,19
                       statement 33:3          79:11,13 80:1 93:3    testified 4:10 33:13    52:23 58:9 64:8
soot 24:19 26:12        38:21 41:3 65:18       97:24 99:14 101:16,    35:3 87:10 88:24       68:15,23 73:1 78:23
                        83:13,21 84:7,10,19    23 105:13                                     79:24 80:11 83:24
sort 7:7 12:2 30:18                                                  testify 20:24 35:11
                        90:14 92:2,7 94:18,                                                  84:10,21 86:6 87:10
 47:19 80:21,23 81:3                          sustained 91:13,
 82:3 86:22 87:4,5      20,24 106:20                                 testimony 9:5           101:20 105:11,21
                                               16                     29:11 41:5 44:10,17    107:15 108:13
 88:6,15 92:14,21
                       statements 95:8        Sweetland 6:2           45:21 49:18,21,24
 98:8 99:21                                                                                 told 8:5 24:4,8 50:2,
                                               20:8 21:1 23:17        50:12,22 52:11,23
                       states 9:23 41:15,                                                    13 54:20 55:1,15
sorts 28:3              16 43:18,19 45:6,7     27:5,21 29:5 30:1,7    64:8 79:24 85:10
                                                                                             64:9 79:22 90:12
                                               33:11                  87:13 105:11,17
sought 76:2 78:17       58:15 94:12                                                          93:11 106:3,4
                                                                      107:15
 88:5                                         Sweetlands 10:23
                       stay 70:2                                                            top 27:2 90:24
                                               47:12                 text 13:15,21 89:10,
sounds 65:4 79:2       Stephanie 18:18                                11,17 95:17           topics 87:22
 107:16                                       swimming 85:1
                        68:2
                                                                     texted 90:2            tore 99:5
speak 5:3 7:12         Steve 46:3             sworn 4:9
 62:14                                                               thing 8:5 12:14        total 31:7
                       stigma 107:10                                  19:16 73:10 107:14
speaking 96:5                                          T                                    touch 47:15
                       stop 74:2                                     things 9:1 14:22
specific 38:9 39:2                                                    20:21 23:15 30:17     touched 7:10 57:13
 44:7 49:16 50:18      strange 95:17          table 12:19 76:12,      47:19 80:23 100:24
 51:5,10,14 62:10                              18                                           town 33:24 34:2
 68:24 76:20
                       streamline 32:10                              thinking 70:1           71:9,10 72:3,14,22,
                                              tackle 56:22                                   23 74:10,17,20
specifically 11:5      street 30:13 82:20,                           thinks 63:6             75:23 103:4
 25:8 30:11 31:24
                        21                    taking 5:1 9:4
 37:15 43:17 68:2
                                               37:22 59:12 65:19     thought 29:1 35:12     traffic 28:5
                       stretch 56:21                                  62:2 72:4 81:22
 72:10,14 73:2,8                              talk 13:16 14:2                               transcripts 18:12,
                       strike 61:5,7                                  89:1
 76:14 78:4 90:23                              18:9,21 19:5,12                               15
specifics 17:15        strokes 52:10           23:7 30:17 33:14      thoughts 26:5
                                               36:13,15 61:18,23                            trash-to-energy
 26:2 29:23 32:9       stuff 86:15                                   thousand 72:7           74:10
                                               62:13 80:14
speculation 61:9       subcommittee                                  time 7:1 8:11 12:15    triple 104:7
                                              talked 5:23 10:2
                        71:17,22 73:17 74:8                           13:18 19:6 23:16
speed 32:5                                     16:16 17:15,16 18:4                          true 38:17 39:7
                        77:14,16                                      24:15,17 26:18
                                               25:23 26:4 29:10                              83:19,21,24 84:7,
spent 65:14                                    30:1,3 33:9 34:11
                                                                      29:12 31:11 32:1
                       subcontractor                                  36:7 37:5,11 38:7,     10,18,21 91:16
spoke 24:3 36:9         33:19                  38:21 46:14 49:5
                                                                      24 39:18 42:20        Trust 94:11
 45:10,23 46:9,13                              51:20,24 52:5 61:1
                       subject 12:4 40:5                              46:14 48:9,13,20
 48:20 55:8,9 70:9                             65:23 66:14 96:23
                                                                      53:15 54:20 55:17     truth 85:9
 90:3,10 91:20 93:7,                           106:5 107:17
                       submitted 64:10,                               56:7 64:7 65:5,7,13
 9 94:13 95:13 96:10                                                                        truthful 9:5 87:11
                        19                    talking 15:20 22:3      66:9 76:22 82:19
spoken 70:6 90:13                              23:2 25:15 27:3        84:7,18 88:6 91:17    Tuesday 75:19
                       submitting 50:14
                                               50:19 52:20 54:5       92:15 93:23 97:1,7
squarely 85:18                                                                              tunnel 79:3
                       subsequently            60:11,12 62:9,11       100:10 105:21,22
Sr 5:19                 90:8                   64:15 72:18 74:14      106:3,11              turn 9:1 45:1 53:11
                                               76:8 93:2                                     96:6
stamp 20:10,19         substance 14:12                               timelier 31:1
 25:19                                        Teams 96:10,13                                turned 55:14
                       suing 72:15                                   timeline 80:22 81:4
stamped 25:16                                 technology 5:5                                two-page 31:6
                       suit 6:20 11:3                                times 6:19



          BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
 Case 1:21-cv-10759-LTS Document 43-1 Filed 02/06/23 Page 40 of 40
                                                                      121

types 84:23             vote 71:19 75:13,19     Wheelabrator's
                         76:11 77:14             14:6 37:9 39:23
                                                 89:14 90:21
         U              voted 76:12
                                                whichever 104:6
                        votes 77:9
U.S.C. 37:24 38:11                              whomever 27:11
uh-huhs 7:14                     W              Wickedlocal.com
uh-uhs 7:15                                      73:16
                        wait 12:21              William 5:19
ultimately 92:19
 98:11                  waiting 76:15           WIN 75:14,20 76:6
understand 6:7          waiving 40:5            witness 4:6 82:10
 11:15 20:23 21:3                                85:13
 22:6,17 78:16,18
                        walk 30:18
 80:22 85:14 88:1       walked 62:5,7           word 37:24 93:16
 100:13 101:19
                        Walsh 15:24 17:22       words 93:14,18
understandable           24:5 32:22 33:6,18     wordy 7:24
 98:17                   34:7,11,19,24 35:7,
                         18,21 36:12,14,22      work 9:13 72:1,5
understanding
                         37:11 38:4,20 39:1
 6:1 9:21 10:22 11:6,                           worked 69:24
                         53:12,15 54:15,20
 8 12:5 23:1 24:14,                              103:21
                         55:15 59:1 60:22
 17 37:5 39:1,10,12
 44:8 47:13 56:8
                         61:11,15,18 81:21,     working 34:8,10
                         22 97:20 102:6          70:3 77:17
 87:1 92:10 106:8,
                         105:19,22
 15,23                                          worth 86:6,17
understood 7:19,        wanted 25:8,10
                         47:19 49:7 57:9
                                                wrapping 80:5
 22 8:21 10:1 19:11
                         58:6 95:7 104:20       written 47:18
 23:5,12 52:18 54:11
                         107:14
 68:14 71:6 72:21                               wrong 35:4 77:24
 77:12 80:3 82:12       Waste 75:21 76:6         79:20 105:17
 106:9 107:5 108:3,                              107:16
 11                     wasting 72:6

unnatural 84:3          WB 20:11
                                                          Y
unusual 84:2            weeks 29:16
                        west 87:4               yard 85:3 102:7
         V              whatnot 13:20           year 71:5 72:19,20
                                                 76:24 77:6 85:2
                        whatsoever 87:10
Vague 26:8                                      years 10:13 12:1
                        Wheelabrator             82:20 83:2,5 85:1
valuation 106:10
                         5:16 6:6 8:15 11:1,3    86:10 92:16 106:21
value 85:22 86:3,23      20:6,9,16 22:4,7,18
 87:5                    23:18 24:3 25:16       yelling 79:3
                         26:11,16 27:12
values 106:10,16         28:15 29:1 31:3,9
 107:2,12                                                 Z
                         32:20 33:20 34:8,
vein 44:17               10,23 35:15 36:8,13
                         40:6,8,12 41:6,15,     Zoom 96:8,9,12
Venice 83:1              16,20 42:10 43:19
veracity 85:9,16         45:7,14 48:5,6 50:3,
                         6 51:17 54:8,23
verbiage 36:5            58:18 59:15 60:6,16
 70:20                   61:4 71:17 72:2,15
                         73:6,16 74:1,7,15,
versus 20:8
                         22 76:9 82:22 87:6
visit 92:6               88:18,19 91:12 95:6
                         97:8,21 103:21,24
voice 90:2               106:18 107:19
volunteered 61:9         108:1




             BRAMANTI & LYONS COURT REPORTING, INC. 617.723.7321
